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§

lN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

 

 

 

MlAl\/Il DIVISION

DIAMOND STATE INSURANCE CASE NO.:
COMPANY DIVISIONZ

Plaintiff,
vs.
Hls HoUsE, INC. d/b/a Hls HOUSE nst b
CHILDREN’s HoME and JossALYN D. yip>~ D'C~
CRAWFORD and MICHAEL A. COLEY,
Personal Representatives of the Estate of JAN 0 7 2010
M.C., a l\/linor Decedent, %{§‘S,E(NUM-SLSFS!¥QRE

. D. of #LA .. M,A$MT
Defendants.

 

 

COMPLAINT FOR DECLARAT()RY RELIEF
COMES NOW, the Plaintiff, DIAMOND STATE INSURANCE COMPANY
(hereinafter referred to as “DIAMOND STATE”) by and through undersigned counsel
and hereby files this action against the Defendants, HIS HOUSE, INC. d/b/a HIS HOUSE
CHILDREN’S HOME (hereinafter “HIS HOUSE”), and JOSSALYN D. CRAWFORD
and MICHAEL COLEY, as Personal Representatives of the Estate of M.C., a Minor

Decedent (hereinafter “the ESTATE”) for declaratory relief and Would state as follows:

JURISDICTIONAL ALLEGATIONS
l. Plaintiff, DIAM()ND STATE, is an Indiana Company, incorporated in
lndiana and organized and existing under the laws of Indiana With its principal

place of business in Pennsylvania.

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2. Defendant, HIS HOUSE, is a Florida non-profit corporation organized and
existing under the laws of Florida with its principal place of business in Opa-
Locka, Florida.

3. Defendants, JOSSALYN D. CRAWFORD and MICHAEL COLEY, as
Personal Representatives of the Estate of M.C., a Minor Decedent, at all
material times hereto, were residents of Broward County, Florida.

4. This Court has jurisdiction of the subject matter of this dispute pursuant to 28
U.S.C. § 1332(a) in that there is complete diversity of citizenship between the
parties and the damages at issue are in excess of $75,000.00 exclusion of
interest and costs.

5. The current action is brought pursuant to 28 U.S.C. § 2201 and Chapter 86 of
the Florida Statutes and seeks declaratory relief regarding DIAMOND
STATE’S obligations to HIS HOUSE under a Professional Liability policy
and a Commercial General Liability policy issued to HIS HOUSE by
DIAMOND STATE for an underlying lawsuit by the ESTATE against HlS
HOUSE and others.

6. Venue is appropriate in this district pursuant to 28 U.S.C § 1391 as HIS
HOUSE resides in this judicial district, the policies were issued in this judicial
district and the underlying tort claim occurred in this district.

UNDERLYING LITIGATION

7. JOSSALYN D. CRAWFORD and MICHAEL COLEY, as Personal

Representatives of the Estate of M.C., a Minor Decedent commenced a

wrongful death action against HIS HOUSE and others that is pending in the

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Seventeenth Judicial Circuit, Broward County, Florida, Case No. 09-02544
CA 25. Such action shall be referred to as the Underlying Action. The
Complaint for Wrongful Death shall be referred to as the Underlying
Complaint and the First Amended Complaint for Wronglill Death shall be
referred to as the Underlying Amended Complaint. Copies of the Underlying
Complaint and Underlying Amended Complaint are attached hereto as
Composite EXhibit “A”. The claims alleged by the ESTATE against HIS
HOUSE in the Underlying Complaint are identical to the claims alleged
against HIS HOUSE in the Underlying Amended Complaint.

8. The Underlying Amended Complaint alleges that M.C. died on or about
February 15, 2007 and that M.C. is survived by her natural parents,
JOSSALYN D. CRAWFORD and MICHAEL A. COLEY.

9. The Underlying Amended Complaint also alleges that M.C. was removed
from JOSSALYN CRAWFORD’S home and placed in protective custody and
control of Department of Children and Families - Broward (hereinafter
referred to as “DCF”) on or about February 6, 2007.

10. The Underlying Amended Complaint alleges that DCF - Broward filed a
“Dependency Shelter Petition” on February 7, 2007 supporting the removal of
M.C. from the home of JOSSALYN D. CRAWFORD.

ll. The Underlying Amended Complaint further alleges that M.C. was placed in

the custody and control of Childnet, Inc. by DCF - Broward on or about

February 6, 2007.

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12. The Underlying Amended Complaint then alleges that M.C. was placed in the
custody and control of Our Kids of Miami-Dade/Monroe, lnc. (hereinafter
referred to as “Our Kids”) by Childnet, lnc. on or about February 6, 2007.

13. The Underlying Amended Complaint alleges that M.C. was placed in the
custody and control of HIS HOUSE by DCF - Miami and/or Our Kids on or
about February 6, 2007.

l4. The Underlying Amended Complaint then alleges that HIS HOUSE owed a
duty to M.C. acting in its capacity as loco parentis

15. The Underlying Amended Complaint alleges that Kristen Glaspy was the
foster care mother caring for the decedent, M.C., at all times material to the
death of M.C.

16. The Underlying Amended Complaint further alleges that Kristen Glaspy, at all
times material hereto, was an employee and/or agent of HIS HOUSE.

17. The Underlying Amended Complaint also alleges that Kristen Glaspy knew or
should have known that M.C. was congested for the 24 hours preceding her
death.

18. The Underlying Amended Complaint further alleges that Kristen Glaspy
negligently cared for and/or supervised the infant, including negligently
wrapping M.C. in a blanket.

19. The Underlying Amended Complaint alleges that Kristen Glaspy last fed M.C.
at 12:00 a.m. on February 15, 2007 and last saw her alive at 12:30 a.m. on

February 15, 2007.

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20. The Underlying Amended Complaint alleges that Kristen Glaspy found M.C.
deceased at 5:]7 a.m. on February 15, 2007.

21. The Underlying Amended Complaint further alleges that M.C. Was found
dead, leaning forward on her side, with the blanket completely covering her
nose and mouth and the cause of death of M.C. was suffocation by the
blanket.

22. The Underlying Amended Complaint further alleges that M.C. died at
Landmark Shelte:r, Building 6A, 20000 N.W. 47th Avenue, Opa Locka,
Florida 33055, which is owned and/or operated by HIS HOUSE.

23. Count IV of the Underlying Amended Complaint alleges that at all times
material hereto, HIS HOUSE owed a duty of care to protect the health, safety
and Welfare of M.C.

24. Count IV also alleges that HIS HOUSE had the responsibility and duty to
ensure that all contractors and/or employees with whom it placed the infant
were properly trained and supervised for the delivery of care to M.C. and all
infants placed in its charge and to ensure that its contractors and/or employees
had appropriate facilities for M.C. and that the facilities had safe and age
appropriate clothing, supplies, and other materials for each child while in the
custody and care of HIS HOUSE.

25. Count IV further alleges that HIS HOUSE knew of should have known that its
contractors and/or employees did not have the appropriate and/or sufficient
clothing, supplies and materials for the care of M.C. and that its contractors

and/or employees were not safely preparing M.C. for bed.

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26. Count lV alleges that HIS HOUSE knew or should have known that its
contractors and/or employees were loosely wrapping infants in blankets
covering the mouth and/ or nose of the infants and that the same could result in
death or suffocation and that the practice of its contractors and/or employees
of loosely wrapping infants in blankets posed unreasonable risk of harm or
death to infants placed in the custody and care of HIS HOUSE.

27. Count IV alleges that as a direct, foreseeable and proximate result of HIS
HOUSE’S negligence, JOSSALYN D. CRAWFORD and MICHAEL
COLEY, as individuals for and behalf of the ESTATE have experienced
severe mental pain and suffering from M.C.’S death, loss of capacity for
enjoyment of life, loss of decedent’s companionship, protection and services,
funeral expenses, loss of net accumulation and loss of eamings.

28. Count V of Underlying Amended Complaint alleges that at all times material
hereto, HIS HOUSE had custody, control and dominion over M.C. and
accepted responsibility and owed a duty of care to protect the health, safety,
welfare and supervision of the decedent, M.C.

29. Count V further alleges that Kristen Glaspy was acting for, upon, and in
fnrtherance of the business of her employer, HIS HOUSE, and within the
scope of her employment

30. Count V alleges that HIS HOUSE is vicariously liability for its employees’

wrongful, reckless andfor negligent actions.

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31. Count V also alleges that HIS HOUSE’S employee, Kristen Glaspy, was
improperly trained and that Kristen Glaspy negligently cared for, treated and
supervised the decedent causing M.C. to suffer death by suffocation.

32. Count V alleges that Kristen Glaspy’s action(s) at all times material hereto
were wrongful, reckless and/or negligent and served as the legal cause of
M.C.’S fatal injuries, pain, suffering and death.

33. Count V alleges that as a direct, foreseeable and proximate result of the
negligence of Kristen Glaspy, a HIS HOUSE employee, JOSSALYN D.
CRAWFORD and MICHAEL COLEY, as individuals for and on behalf of the
ESTATE have experienced severe mental pain and suffering from M.C.’S
death, loss of capacity for enjoyment of life, loss of decedent’s
companionship, protection and services, funeral expenses, loss of net
accumulation and loss of earnings.

34. Count Vl of the Underlying Amended Complaint alleges HIS HOUSE had the
responsibility of custody and care for M.C. and other infants pursuant to a
contract with DCF, Childnet, lnc. and/or Our Kids.

35. Count VI of the Underlying Amended Complaint alleges HIS HOUSE knew
of should have known that failure to train and supervise its agents and/or
employees could have resulted in the harm suffered by M.C. and HIS
HOUSE’S indifference to the substantial risk posed by its failure to train,
supervise and/or monitor its agents and/or employees resulted in the

suffocation death by M.C.

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36. Count VI alleges that as a direct, foreseeable and proximate result of the of
HIS HOUSE’S failure to supervise, train and/or monitor its agents and/or
employees in this matter, JOSSALYN D. CRAWFORD and MICHAEL
COLEY, as individuals for and on behalf of the ESTATE have experienced
severe mental pain and suffering from M.C.’S death, loss of capacity for
enjoyment of life, loss of decedent’s companionship, protection and services,
funeral expenses, loss of net accumulation and loss of earnings.

PROFESSI()NAL LIABILITY POLICY

37. DIAMOND STATE issued a Professional Liability policy to HIS HOUSE for
the policy period of June 30, 2008 to June 30, 2009, Policy No. SSB0583939
(hereinafter referred to as the “Professional Liability policy”). A copy of the
Professional Liability policy is attached hereto as Composite Exhibit “B”.

38. The Professional Liability policy issued to HIS HOUSE by DIAMOND
STATE provides professional liability coverage in the amount of
$1,000,000.00 per claim/$3,000,000.00 aggregate and has a retroactive date of
October 22, 2003.

39. The Professional Liability policy provides professional liability coverage

pursuant to an insuring agreement which states:

SECTION l - PROFESSIONAL LIABILITY
COVERAGE
l. Insuring Agreement

We will pay those sums that the insured becomes
legally obligated to pay as “compensatory damages”
as a result of a “wrongful act”. This insurance
applies to injury only if a “claim” for damages to
which no other insurance applies, because of the
injury is first made against the insured and reported
to us during the “policy period”. This insurance

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does not apply to injury caused by a “wrongful act”
that takes place outside of the “covered territory” or
was committed before the Retroactive Date shown
in the Declarations or after the “policy period”.

a. A “claim” by a person or organization
seeking damages will be deemed to have
been made when notice of such “claim” is
received and recorded by the insured or by
us, which ever comes first;

b. All “claims” arising out of the same
“wrongful act” will be considered to have
been made at the time the first “claim” is
made; and

c. We will have the right and duty to select
counsel and to defend any “suit” seeking
damages However, we will have no duty to
defend the insured against any “suit”
seeking damages for injury to which this
insurance does not apply. But:

(l) The amount we will pay for
damages is limited as described in
SECTION lV-LIMITS OF
INSURANCE;

(2) We may, at our discretion,
investigate any “wrongful act” and
settle any “claims” or “suit” that
may result; and

(3) Our right and duty to defend ends
when we have used up the
applicable limit of insurance in the
payment of judgments or
settlements

No other obligation or liability to pay
sums or perform acts or services is
covered unless explicitly provided for
under Section II - “Claims” Expenses and
Defense Costs.

40. The professional liability coverage of the Professional Liability policy is
subject to the following relevant exclusions:

2. Exclusions

This insurance does not apply to:

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s. Any “claim , suit” or c‘wrongful act” that
might result in a “claim” or “suit”, of which
any insured had knowledge or could have
reasonably foreseen, at the signing date of
the application for this insurance.

4l. The following relevant definitions are applicable to the professional liability

coverage under the Professional Liability policy:

SECTION VI - DEFINITIONS

4. “Claim” means a written demand upon the insured
for “compensatory damages”, including, but not
limited to, the service of “suit” or institution of
arbitration proceedings against the insured.
“Claim” includes reports of accidents, acts, errors,
occurrences, offenses or omissions which may give
rise to a “claim” under this policy. “Claims” based
on or arising out of the same act or interrelated acts
of one or more insured will be considered to be
based on a single “wrongful act”.

12. “Wrongful act” means any act, error or omission in
the furnishing of professional social services. lt
includes the furnishing of food, beverages,
medications or appliances in connection with those
services. All “wrongful acts” committed in the
furnishing of professional social services to any one
person will be considered one “wrongful act”. All
interrelated “wrongful acts” of one or more insured
will be considered one “wrongful act”.

42. HIS HOUSE is seeking coverage for the underlying claims, Underlying
Complaint and/or Underlying Amended Complaint under the Professional
Liability policy and DIAMOND STATE.

COMMERCIAL GENERAL LIABILITY POLICY
43. DIAMOND STATE issued a Commercial General Liability policy to HIS

HOUSE for the policy period of June 30, 2008 to June 30, 2009, Policy No.

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SSB0583939 (hereinafter referred to as the “Commercial General Liability
policy”). A copy of the Commercial General Liability policy is attached
hereto as Composite Exhibit “B”.

44. The Commercial General Liability policy issued to HIS HOUSE by
DIAMOND STATE provides bodily injury liability coverage in the amount of
$2,000,000.00 each occurrence/$4,000,000.00 general aggregate

45. The Commercial General Liability policy provides bodily injury liability
coverage pursuant to an insuring agreement which states:

SECTION I- COVERAGES
COVERAGE A BODILY INJURY AND PR()PERTY

DAMAGE LIABILITY
l. Insuring Agreement
a. We will pay those sums that the insured

becomes legally obligated to pay as damages
because of “bodily injury” or “property
damage” to which this insurance applies.
We will have the right and duty to defend
the insured against any “suit” seeking those
damages However, we will have no duty to
defend the insured against any “suit”
seeking damages for “bodily injury” or
“property damage” to which this insurance
does not apply. We may, at our discretion,
investigate any “occurrence” and settle any
claim or “suit” that may result. But:

(l) The amount we will pay for
damages is limited as described in
Section III - Limits Of Insurance;
and

(2) Our right and duty to defend ends
when we have used up the
applicable limit of insurance in the
payment of judgments or
settlements under Coverages A or
B or medical expenses under
Coverage C.

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No other obligation or liability to pay
sums or perform acts or services is
covered unless explicitly provided for
under Supplementary Payments _
Coverages A and B.

b. This insurance applies to “bodily injury” and
“property damage” only if:

(l) The “bodily injury” or “property
damage” is caused by an
“occurrence” that takes place in the
“coverage territory”;

(2) The “bodily injury” or “property
damage” occurs during the policy
period; and

(3) Prior to the policy period, no
insured listed under Paragraph 1.
of Section ll ~ Who Is An Insured
and no “employee” authorized by
you to give or receive notice of an
“occurrence” or claim, knew that
the “bodily injury” or “property
damage” had occurred, in whole or
in part. lf such a listed insured or
authorized “employee” knew, prior
to the policy period, that the
“bodily injury” or “property
damage” occurred, then any
continuation, change or resumption
of such “bodily injury” or
“property damage” during or after
the policy period will be deemed to
have been known prior to the
policy period.

c. “Bodily injury” or “property damage” which
occurs during the policy period and was not,
prior to the policy period, known to have
occurred by an insured listed under
Paragraph 1. of Section ll - Who ls An
Insured or any “employee” authorized by
you to give or receive notice of an
“occurrence” or claim, includes any
continuation, change or resumption of that
“bodily injury” or “property damage” after
the end of the policy period.

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d. “Bodily injury” or “property damage” will
be deemed to have been known to have
occurred at the earliest time when any
insured listed under paragraph 1. of Section
ll _ Who ls An Insured or any “employee”
authorized by you to give or receive notice
of an “occurrence” or claim:

(1) Reports all, or any part, of the
“bodily injury” or “property
damage” to us or any other insurer;

(2) Receives a written or verbal
demand or claim for damages
because of the “bodily injury” or
“property damage”; or

(3) Becomes aware by any other
means that “bodily injury” or
“property damage” has occurred or
has begun to occur.

e. Damages because of “bodily injury” include
damages claimed by any person or
organization for care, loss of services or
death resulting at any time from the “bodily

injury”.

46. HIS HOUSE is seeking coverage for the underlying claims, Underlying
Complaint and/or Underlying Amended Complaint under the Commercial
General Liability policy and DIAMOND STATE has issued a reservation of
rights to HIS HOUSE while pursuing this declaratory action.

47. HlS HOUSE is covered for these claims under a policy issued by
LEXlNGTON INSURANCE COMPANY (“LEXINGTON”) who had general
liability coverage for HIS HOUSE during the time period in which this
incident took place.

48. LEXINGTON is defending the Underlying Amended Complaint under the

terms of its policy.

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COUNT I - DECLARATORY RELIEF AS TO THE PROFESSI()NAL
LIABILITY POLICY

49. Plaintiff, DIAMOND STATE realleges and incorporates by reference
allegations 1-48 as if stated verbatim herein.

50. The Professional Liability policy provides coverage for an insured that
becomes legally obligated to pay compensatory damages as a result of a
wrongful act.

51. Further, the term “Wrongful act” is defined under the Professional Liability
policy as any act., error or omission in the furnishing of professional social
services, including the furnishing of food, beverages, medications or
appliances in connection with those services.

52. The Underlying Complaint alleges that M.C.’S death resulted from improper
swaddling of the infant causing the blanket to suffocate the infant.

53. Swaddling or the wrapping of an infant in a blanket is not a professional
service.

54. Therefore, improper or negligent swaddling of an infant does not qualify as a
wrongful act under the Professional Liability policy issued by DIAMOND
STATE.

55. Thus, coverage has not been triggered under the Professional Liability policy
because the improper or negligent swaddling or wrapping of an infant in a
blanket does not qualify as a wrongful act under the Professional Liability

policy.

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56. The Professional Liability policy issued to HlS HOUSE by DIAMOND
STATE makes clear that coverage provided under the policy applies to injury
only if a claim for damages to which no other insurance applies because of the
injury is first made against the insured and reported to DIAMOND STATE
during the policy period.

57. The term “claim” is defined under the Professional Liability policy issued by
DIAMOND STATE as a written demand upon the insured for compensatory
damages, but not limited to the service of a suit or institution of arbitration
proceedings

58. Additionally, the term “claim” is further defined under the Professional
Liability policy to include reports of accidents, acts, errors, occurrences,
offenses or omission which may give rise to a claim under the policy.

59. M.C. died on or about February 15, 2007 and DIAMOND STATE issued the
Professional Liability policy on June 30, 2008.

60. HlS HOUSE had separate Professional Liability and Commercial General
Liability policies from LEXINGTON, then New Hampshire lnsurance
Company, prior to DIAMOND STATE’S policy.

61. To the extent the death of the infant resulted from an act, error or omission in
the furnishing of a professional nature, these preceding professional policies
Would be applicable.

62. Further, the commercial general liability coverage issued to HlS HOUSE by

LEXINGTON applies to this claim and LEXINGTON is defending

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63. The professional liability coverage provided in the Professional Liability
policy issued by DIAMOND STATE has not been triggered because other
insurance or coverage is available to HlS HOUSE.

64. Additionally, the Professional Liability policy issued by DIAMOND STATE
contains an exclusion for any claim, suit or wrongful act that might result in a
claim or suit which any insured had knowledge or could have reasonably
foreseen, at the signing date of the application for this insurance.

65. HlS HOUSE completed the application for insurance with DIAMOND
STATE on June 30, 2008.

66. HlS HOUSE had knowledge of the death of M.C. and placed its agent and
prior insurance carriers, New Hampshire lnsurance Company and/or
Lexington lnsurance Company, on notice of the death of M.C. prior to June
30, 2008,

67. To the extent the acts of HlS HOUSE are considered a wrongful act, HlS
HOUSE was certainly aware that such wrongful act resulting in the death of
an infant by suffocation might result in a claim.

68. HlS HOUSE had knowledge and could have reasonably foreseen a claim
would be brought at the signing date of the application for DIAMOND
STATE lnsurance.

69. Further, HlS HOUSE received a request for insurance information from the
ESTATE prior to June 30, 2008, the signing date for the DIAMOND STATE

application of insurance.

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70, Therefore, bodily injury liability coverage under the Professional Liability
policy is precluded because HlS HOUSE had knowledge or could have
reasonably foreseen the claim or suit brought by the ESTATE for the death of
M.C. at the signing date of the application for Professional Liability insurance
with DIAMOND STATE.

71. The Underlying Complaint and policy language demonstrate that DIAMOND
STATE has no duty to defend HlS HOUSE for the claims made by the
ESTATE.

72. While no coverage applies under the DIAMOND STATE policy, any
coverage that would be found to apply under the DIAMOND STATE policy
would be excess over the coverage in the LEXINGTON commercial general
liability policy and the LEXINGTON and/or NEW HAMPSHIRE
professional policies.

73. The Underlying Amended Complaint and policy language are clear that
DIAMOND STATE has no duty to defend or indemnify HlS HOUSE for the
claims made by the ESTATE.

74. The parties dispute the interpretation of the relevant provisions of the
Professional Liability policy and whether DIAMOND STATE has a duty to
defend or indemnify HlS HOUSE with respect to the Underlying Complaint
and/ or the Underlying Amended Complaint.

75. As the parties are in dispute as to the coverage afforded under the Professional

Liability policy, this action is appropriate for determination by the Court.

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WHEREFORE, Plaintiff, DIAMOND STATE, hereby requests that this Court
declare the rights of the parties under the Professional Liability policy issued to HlS
HOUSE and enter an Order ruling that DIAMOND STATE has no duty to defend or
indemnify HlS HOUSE for the claims made by J()SSALYN D. CRAWFORD and
MICHAEL COLEY, as Personal Representatives of the Estate of M.C., a Minor
Decedent with respect to the Underlying Complaint and/or Underlying Amended
Complaint and award any other relief which this Court deems just and appropriate

C()UNT II - DECLARATORY RELIEF AS TO THE COMMERCIAL
GENERAL LIABILITY POLICY

76. Plaintiff, DIAMOND STATE realleges and incorporates by reference
allegations 1-48 as if stated verbatim herein.

77. The Commercial General Liability policy issued by DIAMOND STATE to
HlS HOUSE applies to bodily injury caused by an “occurrence” and only if
the bodily injury occurs during the policy period.

78. Under the Commercial General Liability policy, the term “occurrence” means
an accident, including continuous or repeated exposure to substantially the
same general harmful conditions

79. The term “bodily injury” is defined as bodily injury, sickness or disease
sustained by a person, including death resulting from any of these at any time
under the Comrnercial General Liability policy.

80. The Commercial General Liability policy issued by DIAMOND STATE has

a policy period of.lune 30, 2008 to June 30, 2009.

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81. The death of M.C. allegedly caused by improper swaddling occurred on
February 15, 2007.

82. There is no bodily injury liability coverage provided under the Commercial
General Liability policy issued to HlS HOUSE by DIAMOND STATE
because the bodily injury occurred prior to the policy period.

83. Further, HlS HOUSE knew of the incident and the death of M.C. prior to the
inception of the DIAMOND STATE policy.

84. Although swaddling an infant is not a professional service, any damages from
a professional service are included under the terms of the policy.

85. HlS HOUSE had a Commercial General Liability policy with LEXINGTON
which provides coverage for this loss and LEXINGTON is defending HlS
HOUSE in the underlying action.

86. Therefore, coverage under the Commercial General Liability policy issued by
DIAMOND STATE to HlS HOUSE is precluded because M.C.’s death from
the alleged negligent swaddling occurred prior to DIAMOND STATE policy
period.

87. The Underlying Complaint and policy language demonstrate that DIAMOND
STATE has no duty to defend HlS HOUSE for the claims made by the
ESTATE.

88. The Underlying Amended Complaint and policy language are clear that
DIAMOND STATE has no duty to defend HlS HOUSE for the claims made
by the ESTATE.

89. Where there is no duty to defend, there can be no duty to indemnify.

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90. The parties dispute the interpretation of the relevant provisions of the
Commercial General Liability policy and whether DIAMOND STATE has a
duty to defend or indemnify HlS HOUSE with respect to the Underlying
Complaint and/or the Underlying Amended Complaint.

91. As the parties are in dispute as to the coverage afforded under the Commercial
General Liability policy, this action is appropriate for determination by the
Court.

WHEREFORE, Plaintiff, DIAMOND STATE, hereby requests that this Court
declare the rights of the parties under the Professional Liability policy and
Commercial General Liability policy issued to HlS HOUSE and enter an Order ruling
that DIAMOND STATE has no duty to defend or indemnify HlS HOUSE for the
claims made by JOSSALYN D. CRAWFORD and MICHAEL COLEY, as Personal
Representatives of the Estate of M.C., a Minor Decedent and award any other relief
this Court deems appropriate

Respectfully Submitted,

flaw/caton

John D. Russell, Esquire
Florida Bar No: 0050271

Colleen Elrod, Esquire

Florida Bar No.: 0043 777
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Case 1:10-cV-20039-UU Document 1 Entered on FLSD Docket 01/07/2010 Page 21 of 90

Exhibit “A”

zi/WeeobZU-MeZQQSBSUidasDQCUmem 1 Enmerr_edgnnMEh®D Docket.01/07/2'01'_0' P'ag.e 22@)¢`€910 . - _

lN THE ClRCU|T COURT OF THE
17“" JUDlClAL ClRCUlT lN AND
BRO_WARD COUNTY FLORlDA.

'cA,$E'No.:. 09 '0_254 4

ESTATE O`F Nl. C. minor decedent_
JossALYN o cRAwFoRn and
' MlCHAELA COLEY» » '

Plaintiffs,' .
d vs.__ j
_ CHILDNE__I_' lNC. HlS HO_USE, IN_C.,'

OUR KID§ OF MlAMI- DADEIMONROE.
lNC ,and STATE OF FLOR!DA,.'

DEPARTMENT OF CHiLDREN AND FAM|L|E§

 

Defent_lanta_

commsz FoR wRoNel='uL c)_E_ATH

 

 

COME NOW, the Plaintifts Estate of M.C_. and JOSS_ALYN D CRAWFORO
b _(naturalmother), and MICHAELA COLEY (natura|father),' as Personal Representatives d
for 'l_'he Estate of M.C._ A Dece_ased Minor and JOSSALYN D C_RAWFQRD and-

- MlCHA§l-_ A- COLEY as individua|s, and sue the Defendants CFllLDNET.` lNC. HlS‘ __
HOUSE ING- OUR KlDS_ OF M|AMl-DA[_JE/MONRO§ lNC. and the STATE OF`-
_F_LoR\DA o__EPARl_Tc\/_rENT oF_ cHlLDREN AND_ FAM)_L!ES.. pursuant to F. 3. § 46 021 l

v F,S. § 768 et~seq_, by and through the undersigned eoi.msel and allegé: '

» JuR\sl:-lc'nou AND v`ENuE_

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c

That this is afl-ection for damages in excess of the jurisdictional 'limits' of this *

" Court, exclusive of costs.

` eage_ 1 of 42.

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§ -liece:_iveilv lime Janl.ll;' 2009 5:5lPM l\lo. 1343

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Plainlitl3 have satisfied all conditions precedent including statutory notice '

requinaments, prior to bringing this action and/or same have otherwise b_een

discharged
The` decedent. Madieon Ariel Coley was born' on or about January 10, 2007. 4See
Exhibit 1.

Her natural mower was and is Jos'salyn lJemtcaiI Crawtord. 'S'ee Exhibit 1_ l

_ Her natural father was and 13 Michael Antw_an Coley See Exhibit 1.
M_ C died on or about February 15, 2007. See Exhibit 2_ _'
` Plaintiffs, JOSSALYN D CRAWFORD (natul'al_ moiher), and MlCHAEL A.
COLEY, are the duly appointed personal representatives of the Estate of
MADlSON C_C_>LEY minor deeedent. A copy of the Order Appointing Eersonal ' '

' Representatives' is`_._ attached hereto and incorporated herein by reference Exhdzit

3.

l Decedent 13 survived by her natural mother Jossalyn D Crawtord; natural father

` 1 Mich_ael A Coley; brother, Bobby Crawfor_d; brother Brica Brovvn', and brother

10-

.Mi_chael Coley, Jr_

. ‘-The beneficiaries of the recovery in this action are JOSSALYN D. CRAWFOle y h

.` and M|CHAEL A. COLE‘{ the natural parents of the decedent`, M_.;C` teh

decedent’s listed siblings andlor the Estate of Nl C_

JOSSALYN D. CRAWFO__RD and MlCHAEL A. COLEY the natural parent§" of the

'_.decedent are sui juris.

Page z or 42

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1-1. _.iossiii__vi~i D. _cRA_chi=to and iii'cHAEL 11_ coLEY the ~naiurai parenis ntihe

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decedent arethe_representalives_ eithe'Eslate cf M.C_~ See Exhi)it$. - ` . ;KMW.;_-, . :.- '§-
12. AI all times rnaterlal to_ this action the Plaintii'fs JO§SALYN.'-D. CRAWFORD 3
MICHAEL A §OL§`\’, ali siblings of llhe decedent and M. C., the minor decedeht, ~ l :
~ were and are residents of Broward County, Florida l §§
13. CHlLDNET lNC is a Florida non-profit corporalion, formed under the laws of lthe ` gil
State of Florida with its principal place of business being Broward Ccilintyv xii
__ Florida, and authorized to do business lili Broward Couniy and is otherwise sui ll
juneh l l l -j'.
_ 1?1_[ 1113 HousE,'_iNc'_ is a Florida nori§pro_m §ori§oraiion; termed under 1113 eve or `
_,'th'e 'Stale>of Florida" with its principal place clf_ business being'Miami_-D_ade- » 1 ' l !_=
County, Flo`ii_da and authorized to dc business in Miami-Dade County and is
otherwise sui juiis__ ll l ll ‘l_
`_ ` 15, oulR Kios 01= Minmi~oAloE i_,iolNRoE inc is a norma nqn_pmrii wiporaiion » . l '
iormed under the laws of the State of Florida, wrth its principal place of business l
being Miami-Dade;'i’lorida and authorized to ldo husiness in Miami-Dade and . 2l1
ll\ricnroe counties and' is otherwise sui juris § " :ll
16. .The Sta_te af=i§er'_ida, Florida Depaitrrient of Children and Faiiiiiie3 (hereinafter . _' `- s !l:‘
referredl tcas DCF, DCF Miami and/or DCF Broward} 13 an agency or subdivision ii .
cf the State cli_'lait`d'i‘lda“`operating in Broward Cc')`ii"n"ty-._ Florida _by and tj'ifough - l z " :l: l
newell 11 ana in' inianii_loaiie, i=iérida by and through Disiri¢i v1,1, ' l '
_ ;; 1
_Page 3 of 112 § 1
il
’ 1111111111111-1.111.21. 2009 5':51111111..1818 - _~

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GENERAL N_LE_GATIONS

D_efendant, The State of Flo¢ida failed to comply with th`e requirements of F S.
§3_9_521_ et se_qj

Nl C. was removed fron_'\ JOSSAL‘{N CRAWFORD`S horne and placed _in the`

protective custody and control of D{_)F Broward on or about February 6 _20_07.
DCF owed .a duty ol" cane to M_. C acting m its capacity as in loco p_`5rentis.

M- C. was placed m lthe cu<_tody and control of Cl~llLDNET, lNC by DCF l3roward

l on or about Febru51y 6, 2607

CHlL-DNET. lNC- owed 5 duty of ware to M. C- acting in its capacity as in loco

‘ . parentis

DC_F Bro\t`lard tiled a "Dependency Shélter _Petition” on February 7, 2007 .

supporting the removal of M C. flom_ the home ot JOSSALYN CRAWFORD-

M-C. w_as_ placed in the custody and control of OUR KlDS OF M_lAMl-

DADEIM_ONROE l.NC by CHILDNEF lNC. on or about Febru5ry 6 20_07_

OUR KlDS_ OF MlAMl-DAUE/MONROE, lNC. owed a duty of caro to M. C acting

i_r_l its c5pacity 55 in I_oco palentis.

.121. c 2222 252221 122 1122 2222-cady 222'21 22222101 ms Hou_sf~:, 11~1c by ocF Mi2mi `

2007.
HlS HO_USE_,' lNC. owsd a duty of care to Nl. C. acting i_n its capacity as in loco

parehtis

_ Page4 of .42` d

1222-1221 wm 122.'21."2'00'_9' `5251111112._111'48 '

and/or ouR 1<11_)3-. 01= 15121111_1).2:2521021501§_ 1Nc. 212 22 about Febma¢y 6',_ _' '

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~ lA:».-. m,v`ar.¢-=_nn....

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~K'risten Glaspy was the foster care mother wiring for the decedent M.C-_, at all '

times material to the death of M_ C.

Kristen Glaspy, at all times material hereto was an employee andlor_ agent of

HlS HOUS{_-:, INC

n Kristen Glaspy ln15w or should have known that Nl. C had been congested for the

24_ hours preceding her deaths

Kristen Glaspy negligentty cared for and/or supervised the infant including
negligendy wrapping NL C. in a' blanket y _

Upon information and belief Kristen Glaspy last fed M-C. at 12:0051r_1 on

February 15, 2007 and iast saw her alive at 12:3_Oam on February 1_5._2007.

Upon information and beliei, Kristen Glaspy found M.C.:deoeased at 5:17am on` ,

February 15 2007.

M. C_ was found dead leaning ionuard on her side, with the blanket completely

covering her nose and mouth

. The cause of death of tul -C._Z. was suffocation ny blanket _
All defendants and HlS HOUSE INC i_n particular knew or should hays known of

a risk of- serious harm or death to an infant 112-looser wrapping an infant in a1

blanket and/or covering the infa_nt's nose_and rhouth and defendants recklessly

disregarded that lisk_.

-M. _C experienced great physical and mental pain and suffering for a _pen'o_d of

time prior to- her death _by suffocation

' Page 5'o_f 42

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Upon information and belief M. C. died at Landmark 8he|t5rs Burid` ng GA 20000

. N W. 47"‘ Aven_ue Opa Lo_c:l<`a,_ Florida 33055_

~ Upon information and belief Landmark 8h5|ters rs own5d and/or operated by HlS
-uouse_ 1110. ' d

Plaintiffs reserve and preserve their right to amend this Complaint to include 5 4

claim for punitive damages pursuant to Florida Statzites 768. 72;Porter \'.i_ die

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Procedure.
C_OUNT|~_WR_QNGFUL DEATH: CH|LDNET, lNC_

Plaintiffs re»allege and re~aver paragraphs 1-39 as though they Were fully set
forth in its entirety below_ b

A‘t all times material hereto Cl-ilLDNET lNC exercised dominion over the iniant_

assuming custody and control of the,r_nin,or decedent lVl.C.

Ai an times material hereto. cHtLoNET,_iNc. .upoh`exeri:ising dominion over the -

"child owed a duty of- care to protest-me health, safety, and Weliaie of the minor , :

dei.iedent1 M. C. _ ' v
At all times material hereto, CtliLDNET, lNC breached its duty of care by:
a_ ‘ Negfigently placing M-.C outside of its jurisdiction in to the care and

Cus"tody Of .OUR-KI_DS OF MiAMl-DADE f_NlONROE_, lNC_ and/or HlS
"HGUSE |NC;

‘ b- :Failing to properly supervise the sane of the decedent

r_;'. Failing to properly.train individuals to Care'f_or the decedent

Page Sot 42

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_ `45., .`"_.;CHlLDNEF tNC had the responsibility and duty to insure that its contractors had

46.

'47.

d. ' fishing to property diagnose the dewdent's.ihe_dica_l conditions

e_ - Fal|ing to properly treat`the decedent _

f. Fai|ing to discharge its statutory and common law duty to protect the
decedent and l ' b o - n

g- _ Failing to establish s.uiiicient protocols for the care and super.vision of the

decedent

CHILDNE_F lNC tied the responsihility and duty to insure that ell contractors

and!or employees with whom they placed the infant were piopeity trained and

supervised for the delivery of csr`e to iVl .C end eli infants placed' in its charge

appropriate facilities `for M. C.`. and that the facilities had safe and age appropriate

clothing supplies and other materials for each child viihile rn the custody and

.' connor o_f r_:HiLDNE_T iNC'_

cHiLDNEr,' iNc..,had the responsibiiiiy and duty ians'iire inst ii had sqfii¢ienc '

‘siaf_f'to properly supervise and monitc')r the _ca're_ of_the'.infeints -in its-custody and

i coniii)|;` properly supenrise and;mo_nitor’the delivery of care by its contractors

end/or employees; and insure the proper training of its contractors and/or

employees in the delivery of care to infants accepted in the trustody 'and ware of

- CH!LDNE_I`_, lN_C_

CHlLDNET lNC. krie\iv oi: shouid have known that its contractors and/or -

employees were negligently caian _er and supervising the children placed in ‘

Page_? of 42' .`

-Recziitiiime itn.z.i. 20019._‘5=51Fiiii0.isi'8 '

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their custody and spediicaliy were negligent in their supervision end care of the

y minor infant

cHii_oi~iE_T. iNc_ knew or¢~,houi<i have'i<no'wn that ii irs contractors and/or .

employees did not have the appropriate and/or sufiicient clothing, supplies and

other materials for the care of M C_ `

ci-iiLDNEr ii~rc_:. knew or shouid havei<nowii maris contractors and/or_ . .

' l employees were not safely preparing lVi ._C for bed

CHlLl)NET lNC knew or should have known that its contractors a'ndlor
employees were loosely wrapping infants in a blanket covering the mouth and/or
nose ofthe infant and that same could result in death by suitocation.
CHiI_DNET, lNC. knew or should have known that the practice of its contractors

and/or employees of loosely wrapping an infant in a blanket posed unreasonable

' . risk or harm or death re merits placed in the custody and wire or oHiLi) her

lNC.

CHILDNET, lNC. knevv or should have known that its failure to traln, supervise,-

and!or rnonitor its confra¢l;ors and/or ernpioyees could have resulted' in the harm

suffered by M C

`lhat as a result of Defendant’ s negligence Plaintiffs Jossaly'n Crawford and

"' Michael- Coley, as individuals and for and bahaif of the _ESTA`lE OF M. C. hava_

experienced severe mental pain and suffering from the dale of decedent` s death;

loss of capao_ity_io_r enjoyment of life;_-loss of decedent’s companionship,

Page Bv of 42

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t:ii"otectionl support and services; funeral expenses; loss of net accumulations,
These damages are permanent and continuing.in nature'. `
" -54- That as a result of Defendztnt's negligence Plaintiff the _Esla!e of M. C_, has `
- suffered a loss of earnings a loss of prospective net accumulations an_d incurred
' - medical andfor funeral expenses y
'55_. ` net as a_ drrooi. foreseeable and proximate mott of cHiLoNEr inc 's
` ~ negligence surviving siblings B'obby Crawtnrd Brice Brown and Michael Coley
4 Jr. have experienced severe mental pain a_hd suffering from the date of
l decedent s death; loss of capacity io_'r enjoyment of llfe; loss of decedent’s
companionship, protection, support and services_: loss of net accumulations
' ._ These damages are permanent and continuing' rn nature _

WHEREFORE the Plalritifis demand judgment against the Defendan'c
CH|LDNET lNC. for compensatory damages in excess of .this Court‘_s jurisdictional '_
limits exclusive of costs and interests and for any further relief which this Court may' l n
f nd just and proper and further demand a trial b`y..' jury of all' issues triable as a matter ot
oghtbrrutr. ` ' 4 ' ` b

COUNTlI-VICAPIDUS L&ABlL]TY: CH|LDNET \NC.-

 

. 56- Flaintiifs re-al_lege- and reaver paragraphs 1-39 as though they were fully set

;~forth in its entirety below
~ `57. _ At all times material hereto, CHlLi)NE`F; lNC_ eitercis_ed dominion over the infant

` assuming custody_.,co_ntrol and supervision of the minor decedent M.C. . l

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`. 4er wrongfut recl<lese_ end/or negligent actions of OUR KlDS OF ll/ll'AM|-.v

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_es_. "

At atl times material hereto CHlLDNET lNC. accepted responsibi_!ity for the
health safely. welfare and supervision of clement M C._

At ell times material hereto, CHlLDNET, lNC. owed a duty of care to protect the
health, safety and welfare of_ the minor decedent M. C- k t l

At all times matesial hereto HlS HOU_SE. lt\lC end/or its agenls end employees
were acting *ic)rr upon, and in furtherance of the business of its employer and/or

contracting agent and within the scope ot its employment and/or contrast

v HlS HOUSE, lNC- provides residential services for the plesement of l
. infantslchitdren within Miami by and through its contrast with CHtLDNl':`l'. t..,NC
_ DCF and/or GUR KlDS OF- MIAMl-DADE/MONROE, lNC.
CH|LDNE'[' lNC. placed M C. with HlS HOUSE, lNC by and through DCF endlor`
OUR K|DS OF MlANll DADE/MONROE lNC

CHlLDNET`- t_NC is vicariously_r neble under the destrine of Respondeat Sup'en'or v

DADE/MONRQE inc storm ms HOUSE ms

CHILDNET."INC_'$ employees end.tor` comractsrs. OUR ‘KIDS_ OF MlAM_}_.

t:)'/iDE/ivaoi~l_Roi;--z '_mc_-.andid.r 'Hl_s House, ins wrongful, reckless and/or

negligent actions were the legal ceuse of M§C_‘s fatal injuries,'pain and suffering

and deeth_

Th__e negligence of CHtLDNET lNC__’ s employees endlor contractors OUR KIDS

OF MIAMl-DADEIMONROE, lNC. and/or'HlS HO_USE, lNC- were the direct and

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er.

~6.8.`

proximate cause of the serious personal injunes sustained ljy the decedent and

directly and proximately resulted rn M. _C-' s death.

That as a directl foreseeable and proximate result of CH|LDNET lNC_'s

employees andfor contractors OUR KlDS OF M|AM|~DADE/MONROE lNC..’ s '

and/or HlS HOUSE lNC.' s, negligence Jossalyn Crawford and Michael Coley,`

as individuals and for and behalf of the EST_ATE OF M- C. have experienced

severe mental pain and suffering from the date of decedents dealh; loss of'

capacity for enjoyment of life; loss of decedent’s companionship protection

` support and services;- funeral expenses; loss of net accumulations_ These'

damages are permanent and continuing` rn nature

l`l'hat as_ a directl foreseeable and proximate result of CHlLDNET,- ll\_lC. s

employees and!or contractors OUR KlDS OF MlAMl-DADEMONROE. lNC-' s
and/or HlS HOUSE lNC‘ s negligence the Estate of M-C. ,ha_e sutterecl a loss of

earnings a loss of prospective net accumulations and incurred medical and/or

funeral expenses.

That as a 'd_ire_ct', foreseeable and proximate result of` CHlLl_I>NET. ‘_lNC-|'s. `
'erirproyees'andror`¢onrracrqrs ouR roos or MrAi`/rr-oAijr-:rmoneoe moss
" and/or l-llS HOUSE, lNC,’ s negligence surviving siblingsl Bobby Crawford, Brice'

` _ Brown and Michael _Co|ey, Jr. have experienced severe mental pain and suffering l

from the.~date_of decedent’s death; loss of oapacit§,_t for enjoyment of_ llfc: lose of

,'decedent’e companionship,- protection support andy services; loss of net

` accumulations these damages are permanent and continuing in nature.

Page 11 of 42

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- .-..r,.:-._n. ..'rs_ .\..r.

WHEREFORE the Plaintiffs demand judgment against Defenclant, CHiLDNET
' lNC- for compensatory damages in excess of this Court's jurisdictional limits exclusive
of costs and irrterests, and for any further rehef which this Court may find just and
proper and further demand a trial by jury of all' rssu_es triable as a matter of right by Jury.
CGUNT lll~ _FAILURE TO SUPERVlSE: CHlLDNET, lNC-

69. Plaintilfs manage and re-aver paragraphs 1- 39 as though they Were fully set

- forth in its entirety below. » _
' 711 » CH|LDNET lNC. exercised dominion over the infant assuming the responsibility
n ' of custody care and supervision of M. C
rr- 4 cr_rrLranr', 1Nc.' had ins esponsrbrrrry and daly 10 insure inararr contractors
l _ and/or employees with whom they placed the infant were properly trained and
t supervised for the delivery of care to M. C and all infants placed rn its charge
72. :CH|LDNET_ lNC. had the responsri)i|__ity and duty to protect the safety, health and
welfare of M. C. and all infants rn_ its ca.re
.73§ cr~rrr_erEr 1110 had me responsrbrrry and dury 10 insure mar irs consaaor’s
- had appropriate facilities for M_ _C. and that the facilities had safe an_d age
appropriate clothing, supplies and other materials for each child while rn the
custody and control of CHlLDNET lNC. _‘
i4_ ` CHlLDNET lNC. had the responsibility and duty to insure that it had suliicierlt”‘
.elafi to properly supervise and monitor tire care of the intents rn its custody and
conlrol; properly supervise and monitor the delivery of care lay its contractors

and/or employees; and' rnsure_ the proper training of its contractors andlor,

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employees m the delivery of cane to infants accepted m the custody and lcareof

CH|LDNET, lNC-

_ CHll_DNEl'. lNC. knew or should have known that its contractors andlor

employees were negligently caring for and supervising the children placed 1n

their custody and specinwlly were negligent` m their supervision and care of the

minor infant

CHILBNET lNC knew or should have known that it its contractors and/or

employees did not have the appropriate and/or sufficient clothing suppH_es and

other materials for the care of M. C.

CHll_DNE’l', lNC. knew or should have known th'at its contractors and/or

' employees were not safely prepaan M C for bed.

CHl_LDNET lNC. knew or should have l_cnown that its contractors and/or
employees were loosely wrapping infants in a blanket covering the mouth and/or
nose of the infant and that same could result rn death by suffocation'.
C_HlLDhlET- lNC- l<new or should have known that the practice cf its contractors
and/or employees of loosely wrapping an infant' 1n a blanket posed unreasonable

risk of harm or death to infants placed in the custody and care of CH_ll_DNEl'

7 1Nc,

CHlLDNET lNC_ knew or should have known that its failure to train supervise

and/or monitor its contractors andior employees could have resulted` in the harm

. suffered by M C_.

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\1'_._»\-»~ ¢\.v .1__..___._..._._.¢...-.-. ..... -

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B"i.

82.

83.

, CHFLDNET. lNC_'s indifference to the substantial risk posed by its failure to train, l " . "

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supervise and')_'or monitor its agents and/or employees resulted in the suffocation

death of M C_

k That as a chrect, foreseeable and proximate result of CH|LDNET lNC_’ s failure to ' ~ Z'

supervise train and!or monitor its agents and/or employees in this matter

Joss-al`yn Crawford and Miclrael Coley as individuals and for and behaifof the

ES't`ATE OF M. C- have experienced severe mental pain and suffering from the . §
" _ date of decedents death; loss of capacity for enjoyment of life; loss of decedent’s

‘ companionship, protection ,_ support and services; funeral expenses;_ loss of net ~` ` '_

accumulations These damages are permanent and'continuing in nature.

' That as a direct foreseeable and proximate result of Cl¥ll,LbNET, lNC.’s, failure

to supervise, train_and!or monitor its agents and/or employees in this matter. the

Estate of M_C., has suffered a loss of earnings a loss of_ prospective net

ammulations_ and incurred medical and/or lfuneral expenses ' . '- .-

ntar as a direct foresee-dbe and proximate resurt`or cnrtowr§r, mc_'s, farms
to supervise, train andior monitor its agents and/or employees in this matter,

surviving siblings, Bobby_ Crawiord. Brice Brown and Mi_chael Coley, Jr_ have

l experienced severe mental pain and suifer_ing_ from,_ the date of decedent’s dealh;

loss of capacity for enjoyment of life; loss of decedent’s companionship, ~

protection, support and services;\ |oss'o'i net accumulations These_darr__rag_es are

. permanent and continuing in nature-

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WHEREFORE the Plainliifs demand judgment against Defendant CHlLDNET,

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..mc~u:“'w!n. '_ =-.u‘-m~u_=au\.= .
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ll\lC- For compensatory damages in excess 'of this Court's jurisdictional limits exclusive
of costs and interestsl and for any further relief which this Court may lind just and

proper and further demand a trial by' jury of all issues triable as a matter of right by jury-

COUNT lV-WR'DNGFUL DEATH: HlS HOUSE, lNC.

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85, l , Plaintifis re-al|ege and re~aver paragraphs 1-39 as though they were fully set

k forth' rn its entirety below. : 7 4

86. Atail times material hereto, HlS HOUSE. lNC-_ exercised dominion over the infant '
assuming custody and control otthe~minor_ decedent, :N:l. C. ‘ _

87_ At_ all times material hereto. HlS HOUSE, lNC. owed a duty of care to protect the - v
health. safety and welfare ofthe minor decedent M. C.

BB`. ' t At_all times material hereto_ HlS HOUSE lNC- breached its dut`y of care by:
a. Negligenlly accepting placement of M C., from outside of its jurisdiction

into its care and custody from OUR KIDS OF M!AMI-DADE /MONROE,

r.. - n.... .. ..,t.,vu.-“-wa-\_,.-_.“ ._-1

.. _ ,_.¢ .1..~.-

b._ Fahing to properly supervise the care of the decedent

c_ "_Failing to properly train individuals to care for the decederrt; _

d-- ;Failing to properly diagnose the dewdent's medical cond`rtion;
:¢e___ Failing to properly treat the decedent l k

f_

Receive.d lime Jan. 21.

lNC_, DCF and/GI'CHILDNET, lNC,'

Failing to discharge its statutory and common law duty to protect the

' decedent and

' Page 15 of 42

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g- FaHinp to establish sufficient protocols forthe care and supervision'of the
' decedent .-

HlS l-_IOU_SE, lNC. had the responsibility and duty to insure that all contractors '

_and!or employees with whom they placed the infant were properly trained and

supervised for the delivery of care to M. (_.`.. and all infants placed m its charge

~ HlS HOUSE, lNC. had the responsibiity and duty to~in'sure that its connectors `

andfor employees had appropriate facilities for Nl. C and that the facilities had

» -_safe and rage appropriate clothing. supplies and other materials for each child
l while m the custody and control ot HlS HQUSE, lNC.

l Hls _H`ouse, 11~10, had the responsibmry and duty m insure their 11 ned sufficient

staff to properly supervise and monitor the care of the intants' 111 its custody and
control; properly supervise and monitor the delivery of care by its contractors
andlor employees; and insure the proper training of its commuters and/or
employees m the delivery of care to infants accepted rn the custody and mrs of d

HlS HOUSE lNC.

. HlS HOUSE_ lNC. Knew or should have known that its connectors and/or

" l employees were negligently caan for and supervising the children placed m

thelr custody and specifically Were negligent` m theirsupervision and care of the
minor intent -
Hrs ~H__ousE 1Nc__ knew or shout-1 have known mar n ns contractors and/or

employees did not have the appropriate andlor sufficient clothing, supplies and ~

_ other materials for the o__are of M C.

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HlS HOUSE, IN_C. knevv or should have known that its contractors and/or
employees were not safely preparing.M.C. for bed.
Hrs'HousE, inc. knew or should have known mar irs contractors andrr_>r

employees were loosely wrapping infants' m a blanket covering the mouth and/or

nose of the infant and that same could result rn death by suffocali_on.

HlS HOUSE lNC. lmew or should have known that the practice of its contractors

' and/or employees of loosely wrapping an infant' in a blanket posed unreasonable

risk of harm or death .to infants placed 1n the custody and care of HlS HOUSE
lNC_. _
HlS HOUSE, lNC knew or should have known that its failure to train supervise

and/or monitor its contractors and/or employees could have resulted' 1n the harm

suffered by M_ C _ _

As a result of Hl_S HOUSE1 lNC-' s breach of its duty of care', an employee and/or
agent of HlS HOUSE lNC. caused the death of M. C

The negligence of HlS ilOUSE lNC. as set forth above was the direct and 7

proxirnate cause of the serious personal injuries sustained by the decedent and d

directly and proxirnately resulted 1n M- C. s death

Thal as a direct foreseeable and proximate result o't HlS HOUSE, lNC_'s

negligence Jossalyn Cr.awlord and Michael Coley, as individuals and~for and
behalf o_f the EST_ATE OF M_ .C. have experienced severe mental pain and

Suffering from the date 'of decedent’s death; loss of capacity for enjoyment of life;

loss of decedents companionship, protectionl support and_servioes:,_f_unera|

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expenses; ross of net accumulations These damages are permanent and
4 continuing in nature d _ b l
99. That asba direct, foreseeable and proximate result of HlS HOUSE,`\NC,’:=.
negligence the Estate of M.C., has authored a loss o_i earnings a loss of
prospective net accumulationsand incurred medical and/or funeral expenses v .
100. Ti'rat as a direcL foreseeable and proximate result of HlS HGUSE, iNC_'s
negligence surviving siblings, Bobby Cravvford, B_r_ice Brown and Michael Coley,
Jr.' have experienced severe mental pain and suiferingirom the" date of
‘ decedent’s death.; loss of capacity for:enjoyment of life; loss of decedent’s
companionship, protection-support and '%Wkes; loss of net accumulations
These damages are permanent and continuing in nature ~
WHEREFCRE the Plaintii‘£s demand judgment against Defenclant, HlS HOUSE,
k lNC for compensatory damages rn excess of this Court'_s jurisdictional limits, exclusive
~ of costs and interests and for any iurther relief which this Court may dlind just and
d proper and further demand a trial l:y` jury of all issues triable as a matter ot_ right by jury_
COUNT V~VlCt\RlOUS LiABlLlTY: HlS_ HOUSE, lNC_
101_ Plaintitis re-ailege and reaver paragraphs ‘l~3_9 as though they4 were fully set

forth m its entirety below__

102_. At all times material hereto HlS HOUSE lNC. had custody and control of the _~

minor decedent Nl C.-

103_‘ At ali-times material hereto, H|$ .HOUSE, 'iNC_*_e)ge'rcised dominion over the

infant

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At all times material hereto HlS HOUSE lNC. accepted responsibility for the

health safety welfare and supervision of decent, M- C
At all times material hereto HlS HOUSE_, lNC. owed a duty of care to protect the

-health, safety and welfare of the minor decedent Nl C-

At all times material hereto, Knsten Glaspy was acting for upon and in _

" furtherance of the business of her employer, HlS HOUSE, lNC and within the

scope of her employment

HlS HOUS.E.;|N,C." is_vicariously liable for its employees’ _Wrongful, ireck|ess

`_ and/or negligent action:;_ '

_ HlS HOUSE, IN'C.’s employee Kristen Glaspy, mee,irqpropeny trained; and she y

negligently cared_for, treated and supervised the decedent c_a_usin_g' M.C. to
suffer death by suffocatr¢n. _ ' ; ` "'-

l-llSv HOUSE lNC.’s employee Kristen Glaspy’s action(s_) at all time; material

hereto was wrongful, reckless and/or negligent eerving as the legal cause of

M_ C_' s fatal rniuries. pain and suffering and death_

The negligence of HlS HOUSE lNC.' s employee Kristen Glaspy as 'sel forth

"above, was the direct and proximate cause of the serious personal injuries

' sustained by the deeedenl and directly and proximately resulted rn M. C_’ s death

That as a direct, foreseeable an_d proximate result of HlS HOUSE, lNC.'s

employee Kristen Glaspy’s negligence Jossalyn Crawford and Michae_l Coley,

_as individuals and for end behalf of the ESTATE OF M-. C have experienced

severe mental pain and suh`e`ring from the date of decedent’s death; loss of

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"capacity for enjoyment of |ife; loss of decedent’s companionship, protection_

support and services; funeral expenses; loss _of net accumulations_' These

damages are permanent and continuing in nature

That as a; direct,_ foreseeable and proximate result of HlS HOUSE, lNC.’s,' -

.ern!p|oyee, ll‘~fristen Glaspy’s, negligence the Estate of M-C.,'has suffered a loss

of earnings a loss of prospective net accumulations and incurred medical and/or

._ ' funeral expenses

1-13.4`

lNC- for compensatory damages" rn excess of this Court's jurisdictional limits, exclusive v

7 of costs and interests and for any further relief which this Court may find just and

`That as a direct1 foreseeable and 'proliimate result of HlS HOUSE_ lNC_'s,_.' .

employee Kristen Glaspy`_s_, negligence;'surviving siblings_ Bobby Crawlord,

_-_Bric_e Brovrn and lvllichael C_oley, Jr_ have experienced severe mental pain and

suffering from'the date of decedent’s death: loss of capacity for enjoyment of lile;

. loss of decedents companionship,- protection, support and services; loss of net

,accumulations._ These damages are permanent and continuing in nature

WHE_RFJ:ORE the Plaintilfs demand judgment against Defendan'l, HlS HOUSE

proper and further demand a trial try jury of all issues triable as a matter of righl_by jury.v

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Plainliffs re-allege and re-aver paragraphs “l 39 as though they were fully set

forlh" rn its entirely below.

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. and welfare ot M C. and all infants rn its care while prepaan M. C_ and all other

_HlS HOUSE lNC.. accepted the responsibility/of custody and care of M.C. and

_-.v

other infants pursuant to a contract with DCF, CHlLDNET, lNC_,` andlor OUR .-
l<ros or nlAMr_voE/Mounoe, lnc. ` " _
HlS HOUSE, lNC had the responsibility and duty to insure that all. agents andlor . .` l §

employees were properly trained and supervised for the delivery ot care to M C.

and all infants placed m its charge

HlS HOUSE, lNC. had the responsibility and duty to protect the safety, health y _ _ § ' `.

' infants for bed

HlS HOUSE. lNC- had the responsibility and duty to insure that its facilities had '

safe and age appropriate clothing, supplies and other materials tor_each.chi|d` -‘
during their stay with HlS HOUSE, lNC. 7

HlS HOUSE, lNC.~ had the responsibility and duty to insure that lt_had sufficient

` staff to properly supervise the care of the infants invite custody and control;

property supervise and monitort_he delivery of care'by its agents and/or

employees; and properly train its agents and/or employees in the delivery of care

.to infants accepted ln the custody and care of HlS HOUSE, lNC.

1 i~_llS HOUSE, lNC. knew or»should have known that it didl not have »the , ,

appropriate a'ndfor_sutlioient clothing. supplies and other materials for the care of
wi. c ~‘ ` ~~ b

HlS HOUSE lNC knew or should have known that its agents and/or employees

were not safely preparingltll.' G': dor bed

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ms House, lNC. Koow or should have known that loosely mpplog'oh infant to

a blanket could result in the blanket covering the mouth and/or nose of the infant ,'

resulting in death by suffocation.
HlS HOUSE lNC knew or should have known that the praqtice of its agents

andfor employees of looser wrapping an infant nn a blanket was widespread and

4 ' posed unreasonable nsl< of harm or death to infants placed' m the custody and

,1_24.

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12_7.`

' care of HlS HOUSE, lNCt

HlS HQUSE, lNC. knew or should have known that failure to train and supervise

, its agents and/or employees:. could have resulted in the harm suffered by M_C, d
- 125- "HlS HOUSE, tNCIs¢ indiFFerenoe to the substantial risk posed by its fallure'to

_ train supervise and/or monitor its agents andlor employees resulted 1r_1_the

suffocation death _of M. C.

That as a direct foreseeable and promrnate result of HlS HOUSE tNC’ s failure

to supervise, train andlor monitor its agents and/or employees in this matter.

Joosolyh crawford and Mtohool coley, as individuals and for and behalf ortho _ '
. ESTATE OF M;C_ have experienced severernental pain and suffering from the

date of decedent’s death; loss of capacity for enjoyment of er;" loss of decedents '

companionship; protestion, support and sendces;'tuner`al expenses loss of net
accumulations These damages are permanent and c;ontin_uing in 'nal:ure._

rhot as o direct foreseeable voncl proximate resort or .Hls House, 1'Moi*s‘;i’rou`uro

to st.lpt=,\ri.riser train and/or monitor its agents and/or employees in this malte_r_ the -

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Estate of M. C., has suffered a loss ot earnings a loss of prospective net
accumulations and incurred medical and/or funeral expenses
128_ `ihat as a direct. foreseeable and proximate result of HlS HOUSE, lNC.'s, failure
§ to_supervise, train andfor monitor its_agents and/or employees-in this matter,_ - y § ?

surviving smlings.‘Bobtiy Crawford., Brice Brown and Michae`l Col`ey,- Jr. have

experienced severe mental pain and suffering from the date of decedents dealh;.

loss_ol capacity for enjoyment of lite; loss of decedent’s companionship, . -_ '

.v~. .o.-~u.m -o- ».-\ n m=r-\.=:.:._.\r .“.1'¢¢.-1 .~:u=»';nc!<\rqmu.c-r-_r~:_ .\.».`.~.. ».1

‘ protection support and services;_ loss of net accumulations Tnese damages are

§ -_Permanent and continuing in nature. . '  - § ` 1 ~ ~' . ._ ~ ~ z »- z l
WHEREFORE, the Plaintifle demand judgment against Defendant, HlS HOUSE

- lNC.,for.compensatory` damages in excess of this Court's jurisdictional llmits,_ exclusive

' of costs and interests and for any further relief which this Court may lind just and _

_ proper and further demand a trial by jury of all issues triable as a matter of right by jury_ 1 _ §
couer wr.wRoNo-'=ur'_ oaA'ra- ouR inns or= nrAMr-oApErmoNaoa nrc _ ' - . ` §§
129. Plaintiffs re-allege and re»a\rer paragraphs ‘l_-39 as though they were fully set §

forth rn risentlretybelow d ' ~ ` - . " _' ' ` 1 ' '.l§

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exercised dominion over the infant assuming custody.and control`of the minor

..»_I`FLC

decedent M. C.

'.'

,__ __ ._._,.,_.._...__,..~_.......»..__-.- ... .r»ww--¢¢=;rrr_mw=~ :.1..=1...-..2.."::'..._ .

1'31- At'*`ail times material hereto. OUR KlDS QF MlAMl- DADE/MONROE lNC. owed
_ ‘a duty of care to protect the health, safety, and welfare of the minor decedent

M.C.

Page` as or 42

pretrial lime lrn. 21.' 2000 5;511>10 00.1040

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At all times material hereto, OUR KlDS OF MiAMl-DADE[MONRDE, lNC.

breached its duty of care_by. Negligently accepting custody and control of "

M.C- from outside of its jurisdiction and negligently placing M.C. outside of_

its jurisdiction into the care and custody of HlS HOL|SE, lNC; ' '

’FaiHng to properly supervise-the care of the decedent

Failing to properly train individuals to are for the decedent
Failmg to properly diagnose the decedent’s medical condition;

Failing to properly treat the decedent

Faiiing, to discharge its statutory and common law duly to prcitect the
decedent and . ' § l
Fai|ing to estabtish eutncient protocols for the care and supervision of the ~

decedent _ '

ouR tons oF MlAMl~voE/MONRQE, lnc- had the responabrlny_’and-duly 10 `

. insure-that all contractors and!or employees with whom they placed the infant

were properly trained and supervised for the delli/ely ot care to M.C. end all

infants placed in its charge

_ 'OUR KIDS OF M£AMl-DABE;MONROE lNC__ had the responsibilrty and duty to

' _ insure that its contractors had appropriate facilities for M_ C_ and that the facilities

Receiveli lime

~ had safe and age appropriate clothing suppliec, and other materials for each

` chin while m the custody and control or QU`R 1<1_DS 01= MlAml voE/Monnoe

lNC-

_Jan_.,?l.

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vr.:on‘trao‘tors and/or employees were negligently caring ior_ and supervising they _ ` _ i

¢. -.. r-r.l\_Mrr-l~rvvg- -\

.rr_.'.-... . ... .-... ~"-i.'

OUR K|DS OF MiAMl-'DADEIM:ONROE, lNC. had the responsibility and duty to l
insure that it had suffioient staff to properly supervise and monitor the care of the
infants in its custody ond_oontrol: properly supervise and monitor the,c-lelivery of

care by its contractors andfor ernpioyoes; and insure the proper training _of its

. contractors and[or employees in the ole-livery of cars to infants aocepted in the ` 5- ' '

custody and me ofoun roos orr MrAMI-_oADE/Moi\rnorz, rNc_

ouR Krt)s oF MrAMr~vor~:rMor~rRoE, rNc_ knew nrshnnr`d_have knan maris

children placed in their custody and specifically Were negligent in_their` ` ky g
supervision and care of_ the minor infant '- _'

oun_ roos oF MrAM_rvosrr\/ronnos, rNc. knew or Snnura nave known mar rr

its contractors andlor empioyeés did not have the appropriate and/or sr§rfticient

oloihing, supplies and othorl_r_naterials for_the care of MC. 1 z

oun- r<r_os or= MiAMr“r)AoE/Mor~rnos, r'No- knenl or Snnurd_ nav@, known that irs
contractors and/or employees wore not safei.y propaner M.C- for pari ’

ours `r<rr)s oF mrAmr_voE/mor§rnor§, rNo; knew or snourd‘nave known merits
contractors and!or employees wero loosely wrapping infants in a blanket ' 4
oovering thé nroulh_ and/or nose of the infant and that some could resist in death
by suffocétion_ .- . l b w

ours r<ros or= mmrvoE/Mownos,rr~ro. knew or should nav`é_ known that

the practico of its contractors and/or employees of looser wrapping a_n.infant in_a `

Page 25 of 4.2

kenner inn nn 2`1. 12'009_' S=S_r'rrr in 1843 _

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blanket posed unreasonable risk-of harm or death to infants.p|aced in tile
custody and.oare of 0th KIDS OF llflll!’tllll|~DADE/MOl\ll:<‘.OE,l lNC.

ou_R l<los ol= Minml.voe/Mon'noe lNC knew dr should have known that lre

_ failure to train supervise and/or monitor its contractors and/or employees could

' have resulin in the harm suffered by Ni- C_
Ae e result dr ourt Kros ol= MrAMr-DAoErll/ronrzoe, rnc'.'e .nreeen` of lie duly dr
~ eere, en employee end/or agent dr ouR_,r_<'lns oF MlAMl~voE/r\nol\lnoe. lNC.
and!or HlS HOUSE lNC. caused the`death of M-C. 4 :
lite negligence of OUR l{lDS DF MIAM|~DADE/MONROE, lNC., as set forth

above, was the direct and proximate cause of the serious personal injuries

sustained by the decedent and"direr:tiy and proximately resulted in M.C.`s deatn'

rnel ee a drre¢l, roreeeeeble end,prnxrrnere result or oun rcle oF lvllArvll-
voEJMGNRoE_ rNc._'e negligence ,Jeeeelyn maynard end rllrene'el cnley, ee
individuals end rnr end sellers dr rne_EsT_ArE ol= M.c_ have experienced eevere`
mental pain and suffering imm the date of decedent’s death; loss of capacity for .
enjoyment of life; loss ot decedent’s »oompanionship?_proteotion, support and v
services; funeral expenses;_loss of net accumulations _ The_se. damages are -
permanent and continuing in nature. b

'That as a direct foreseeable and proximate result of OUR t<lDS OF wlka
DADE!MONROE lNC.' s negligence the Estate of M. C-, has suffered a loss of
geamings, a loss of'prospectlve net accumulations and incurred medical and!or

»iu'nera_l expenses

Page 26 of 42

recalled r`ln'e len._zl.. 2009 5=`5lrll lie ran

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That as a direct1 foreseeable and proximate result of_OUR KlDS OF MtAl\ill-
voE/MoNRoE_ luc.'e negligence survivan erbllnge, seeley-crawford allee
Brown end Nllchael Coley Jr have experienced severe mental pain and suffering
from the date 'of decedent .> death; loss of capacity for enjoyment of life; loss of
deeedent’s companionship, protection, support and _servic;es; loss of net
-accumu|ations- `l'heee damages a're'permanent and continuing in nature.

WHEREFORE the Plaintiffs demand judgment against Defendent, OL_lR KlDS

OF MlAM|-DADE{MONRQE lNC. for compensatory damages ln excess of this Court’s l

jurisdictional limits, exclusive of costs and interests and for any further relief which this

Court rnay tind just andrproper and further demands trial by jury of all issues trieble as

a matter of right by jury. ~,-

CGUNT VI-II-V'|CAR§OUS UAB|!JW: OUR K|i)$ OF MiAMl-DADE{MONROE, lNC.

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147__

148_ -

Plaintiffs re»el!ege and re- -aver paragraphs 1- 39 es though they were*fr.'llly set

l forth in its entirety below

le ell limee mererrel herere,_oue‘l<loe or MlAlvll-voE/lvlonrtoe, lNC.

exercised dominion over the infantl assuming care, custody and control over the

. decedent

A_t err rlmee melenel hereto - one lone ol= mrANll voE/MQNROE inc

accepted responsibility for the health sefety welfare and supervision of

decedent

149_ At err times material hereie_, ourt l<ros oF r/llAl\lll_voE/lvlor~raoe_ lNc._eweel

a duty to care_and protect the-heallh, safety la_nd' care of decedents

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...-u'lr:\l

1'50. At all times material hereto Kristen Glaspy. was acting for upon,_ and in

_, furtherance of the business of her employer and within the scope of her
x employment 7 ir l jl
151. OUR lGi§S Oi: MlAMl-DADEMON§OE, lNC. is `vicarionsly'liable for its agent’s, §

subagenta’ (HIS HOUSE lNC and Kristen Glaspy), or empioyeee’ wrongful,

l _ v reckless and/or negligent aciions_ .

~ 152. OUR K|DS OF M_lAMi-DADE/MONRDE iNC.' s agent and/or employee

negligently s¢.rpervisecll treated endich cared for the decedent causing M.C lo
suffer death by sultocation. y l _ _ v

15_3. b ourt l<los or MIAMr_DADr~;/Mewnoe, iNc_"s agean and/oriemployee',s
'wrongfl`:l. recklese and/or negligent action(s)`_ viiere th`e' legal 'cause of M_C_’s fatal
injuries pain and suffering and deaih. 7 k k

154.' The negligence of OUR KlDS OF MiAMl~_DADE!MONROE, lNC_' s agent and/or
employee Was the direct and proximate cause of the serious personal injuries

- sustained by the decedent and directly and proxirnately resulted' in M. C_’ s dealh_

155_ That is a direct foreseeable and proximate result of OUR KIDS OF MlAMl-
DADEIMONROE, iNC.' s agents and/or employees negEgenoe, Jossalyn ' '
Cranciord end Michael Coley, as ind'rviduals.'and for and_behalt-nf the ESTATE-
OF M_CL have experienced severe mental gain and suffering from the dale of
decedent’s deet_h; loss of wpacily=for enjoyment _of life; loss of decedent’s ‘

_oompanionship', prolection, support and servi_ces; funeral expenses; loss of nei

\: ‘.'_. :*,=';n( 1'\¢¢¢'.-.. ..n.'-.

»,-. l n_<¢.\¢_.,:aal-.\.¢u.'.':.-r

ecoumulatione_ .These damages are permanent and continuing in nature.

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1'56. Thar as a direct fdreseeabls'and proximate result of oLiR r<los or= ulAl\/n-
DADE/_Mt)N'ROl-E. lNC_'s agents and/or employees negligence the Estate oil l
M-C-. has suffered a loss of earnings a loss of prospective net accumulations 4
and incurred medical and/or funeral expenses y
`157__ `liiat as a direct, foreseeable and proximate result of OUR KIDS OF MlAMl-_
DADEJNIONROE, lNC.’ s agents andfor employees negligence sun/iving
siblings, Bobby Crawford, Brice Brown and Michae|-Co|ey, Jr` have experienced
» severe mental pain and suffering from the date of decedent's.deeth';loss oi '
capacity for'enjoyment of lite; loss ct decedents companionship, protection,
support and services; loss of net accumulations These damages are permanent
and continuing in nature ~ l

' wHEREFoRE the Plaintier demand judgment against o¢rendant ouR r<:os'

OF MiAMI-DADE/MONROE lN_C for compensatory damages rn excess of this Court' s ;

» jurisdictional limits, exclusive of costs and interests and for any further relief which this
_Courl may lind just-and proper and further demand a trial by jury of all' issues triable as
_a matter of right by july t 4
COUNT iX-FAILURE TO SUPER`VlSE: OUR ifle OF MiAlllll-DADEINlONROE; lNC
_1-5ti. Fleintif'is re-ellege and re~aver paragraphs 1 39 as though they were fully set
- forth r_n its entirety below- v
159.- .oun roos or¥'fummr-onorduonnoe lnc. exercised dominiqu marine infant
v l assuming and accepted the responsibility of custody, care an'd supervision of

M.C.

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161.

1 52.

OUR KlDS OF MIAMl-DADEIMONROE. lNC. had the responsibility and duty to
insure that all contractors andior employees were properly trained and
supervised for the delivery of care to M.C. and all infants placed in its cha rge.
OUR KlDS OF MlAMl-DADEI_MONROE, lNC. had the responsibility and duty to
protect the safety, health, and welfare of`li)l.'C. and all infants in its care.

ouR l_<los ol= MwmloADE/uoi~lrloe, mc_ had the responsibirty and duty to

_ insure that its contractors had appropriate facilities for M.C. and that the facilities ;

~ had safe and age appropriate clothing, supplies and'other materials for each _ '

child while in the wdtody and control crowe KIDS oF MlAMl_voE/MONROE,

lNc_

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oun_ l<los ol= ulaurvoE/Moueoe. lnc. lied the responsibility and dirty id

insure that lt had suflicient staff to properly supervise and monitor the care of the

b infants in its custody and ccintrol; properly supervise and monitor the delivery‘of

care by its contractors and/or employees; and insure the proper training of its
contractors and/or employees in the delivery of care to infants accepted in’the

aetddy and care dr olin Klos or Miaml_oaoe/MONROE, inc

o‘ue Kle oF.MlAMl-voE/MONROE, lNc_ knew drshoud hare knde that it ‘

its contractors and!or employees did not have the appropriate and/or sufficient

_ tea

_-'clothing,` supplies and other materials for the care of lVl_C`.

_ OUR KIDS OF'MlAMl~DADE!MONROE, lNC. knew_or should have known that its

contractors and/or employees were not safely preparing M.C_.l'or bed.

Page 30 of _42

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contractors and!or employees were loosely wrapping infants in a blanket `

` v covering the mouth andfor nose of the infant and.that same could result in death

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_ouR rees or MrAMr-DAoE/MONROE_ rr~rc. knew or should have known mar

the practice of its contractors endior employees of'loose|'y wrapping an infant in a_

blanket Was Widespread and posed unreasonable risk of herm or death to_infants __

placed in me custody and care qf our< roos or 'MrAMr;oADE/MONRO'E, rNC_

bone Krr)e or= MIAMr-quE/MONROE_ rNc. knew orshourd have knan that red

failure to train, supervise," end!or monitor its contractors'and/or employees could
have»resulted in the harm suffered by-M. C `

OUR KlDS OF MIAM|- DADEIMONROE, lNC.' s indifference to the substanlla| risk
posed by its failure to train supervise end/or monitor its _egents end/or ..

employees resulted rn the euffocation death of M. C_

Thet as a direct foreseeable and proximate result of OUR KlDS _C)F MIAM|-

~DADEIMONROE lNC.’ s failure to supervise,_ train ancllor mohltor` its agents '

and!or employees rn this matter, Jossalyn Crawford end Micheel Coley, as

individuals_end for and behalf of the ESTATE OF M.C. have experienced severe _

'r_nental pain end suffering from the date of decedent’s deetl'r; loss of capacity for _

enjoyment of life; loss of-c`lecedent's companionshii), protection, support and

' .services: funeral expenses loss of net accumulations These damages are

permanent and continuing in nature

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OUR KlDS OF MlAM|-DADE!MONROE, lNC. Knew orshould have known that its `

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1_72_

Tha_t as a direct foreseeable and proximate result of OUR K|DS OF lVllANll~
DADE/MONROE, lNC-"s, failure to supervise train and/or monitor its agents

and/or employees in this matter, the Estate of M.C., has suffered a loss of

earnings a loss of prospective net accumulations and incurred medical and/or

i_uneral expenses
That as a direcl. foreseeable and proximate result of OUR KlDS OF MlAlVll-
DADEIMONROE, lNC.'s. failure to supervise train and/or monitor its agents

andlor employees in this matter,' surviving sibiings, Bobby Cravvford, Brice Brown

and Michael Colev, Jr. have experienced severe 'menlal pain and suffering from

the dateof decedent’s deatlt§,loss of_ capacityr for enjoyment of life; loss of
decedent’s-companionship, protection support and services; loss of net
accumulations These damages are permanent and continuing in nature

WHEREFORE, the Plainthis demand judgment against Defendant OUR KlDS

OF MIAMl-,DADEIMGN RQE, lNC. for compensatory damages in excess of this Court‘s

jurisdictional limits, exclusive of costs and interests and for any further relief _whioh this - '

Court may find just and proper and further demand a trial by jury of all issues triat)l_e as

a matter- of right by jurv.

173_

count x~wRor~rcr=uL oEATr-r: sTATE or= Fr_oRroA,
_oEP_A_R'_rMENT _oF CHrLDREN AND FAMrLrES

Plaintiffs re-allege and re_aver paragraphs 1.-39 as though they were fully set

"' forth in its entiretv below.

Page 32 of 42

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x.h. ¢. -.-;n ¢\-.--'.

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174. Ar an times marerrai_ herein THE sT'ATE. oF- FLoRroA_ rkoch exercised

dominion over the infant assuming custodv_ Control and supervision of the minor

decedent, M.C.

115. At all times material hereto,-DCF owed a duty of care to protect the heelth,

safety, welfare and supervi$ion of the minor decedent M_ C_

176-, At all times material hereto DCF breached its duty of care by:

8.

r'g

Recéived T'lme Jan. Zl.

Negligent|v placing |vl. C. outside of the jurisdiction of_ the Broward Court

_ and into the care and oustoi:lv of OUR KlDS OF MlAMl~DAfiEIMONROE.'

lnc. andre Hrs' HousE-. _ruc.;

Negli_gentlv placing NLC. outside oi'its jurisdiction into the care and '

_¢usiody br ouR` runs _ oF` `_MramrvoE /MoNRoE, _rnc. ~ and/or
cHiLDNET, iNc;
Failir_rg to properly supervise the care ot the decedent

Failing to properly train individuals to career the decedent

Failing to properly diagnose the_'decedent’s medical condition;

Failing to properly treat the decedent

_ Failing to discharge its statutory and common law duty to protect the

decedent

Failing to establish suttic`ient protocols for the care and supervision of the
decedent and '
Neg_irgenliy delegating the care of the infant to organizations not equipped

to care for'fhe decedent

Pag_e 33 of 42

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~..',W.

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DCF had the responsibility and duty to insure that'ail contractors and/or ' " '

' employees with whom they placed the infant were properly trained and

supeivised for the delivery of care to M. C and all infants placed in lis charge ' _
DCF had the responsibility and duty to rnsure that its contractors had appropriate l v
facililjes for M- C and that the facilities had safe and age appropriate clothing,

supplies and other materials for each child while 1n the custody and control of

ocr=_ '

DC'F had the responsib“ity and duty to insure that it had s`l.lli‘ii:ienlv staff lo

‘ properly supervise and monitor the care of the infants in its custody and control;`

properly supervise and monitor the delivery of care _hy its contractors and/or .'

» employees; and insure the proper trainingl of its contractors and/or employees in' ‘

179.

~1 ,_B_O_

,331_‘

the delivery of care to infants accepted in the custody and care of DCF.

j DCF knew or should have known that its contractors and!or employees were

negligently caring io_r and supervising the children placed in their custody and
speci|ioally were negligent m their supervision and care o'f the minor-infant

DCF knew or should have known that riils contractors and/or employees did not. .
have the appropriate andior sufficient clothing supplies and other materials for _

the care ofM .C.

DCF- knew or should have known that its contractors and/or employees were not

safely preparing lvl C_ for bed

Page34 of 41'_

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1821' DCF knew or should have known that its contractors and/or employees were
looser wrapping infants in a blanket covering the mouth and/or nose of the infant
and that same could result in death by suffocatio'ni t l

183, DCF knew orshould have l-'nown that-the practiced its connectors and/or t
employees of loosely wrapping an intent in a blanket posed unreasonable risk of
harm or death to infants placed in the custody and care of DCF

18?4. DCF knew or should have known that its failure to train, supervise and/or

monitor its contractors and/or employees could have resulted in the harm
. suffered by M.C. v _`
.185. As a result of 4DCF's hreach of its dutyl of care an employee and/or agent ot OUR
Kle oF Miami vor-Jrviounoe inc and/ernie HousE lNo_ caused the
death of M_ C-

186- _T__he negligence of DCF_ as set forth above, was the direct and proximate cause

of the serious personal iniuries sustained by heldec_'edent and directly and_
d '_ proximately resulted rn M. C' s de.'rth b __ n _

‘l BT. Thal; as a drrecL foreseeable and proximate result of DCF's negligence Jossalyn '
,Crawford and Michael Coley as individual have experienced severe mental pain _'
and suffering from the date of decedent s death; loss of capacity for enjoyment of
life; loss of decedent’s compah;nship protection support and services; funeral

expenses; loss of_ net accumulations These damages are permanent and

- - - 1-. n. ;I.r.».s.uq..\<ot. 11..-._.1
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At all times material hereto, DCF‘s contractors and/or their employees were

acting for, upon, and in furtherance of the business cf DC_F pursuant to their
contract with DCF and within the scope of their employment and/or contract
D_CF had a non~delegable duty ior the h_ealth,~weil'are, and care of the decedent

HlS HGUSE, _` lNC- provides residential services for the placement of
infants/children within Miami by and through its contract with CHlLDNET lNC-

DCF and!or OUR KIDS OF MiAMI DADE/MONROE, lNC.

DCF. by and through, CHILBNET lNC. sought out the services of a residential '

provider for M_ C. and ultimately placed M. C Wilh Hl§ HOUSE, lNC- and/cr OUR
K]DS OF MIAMI~DADEIMONROE lNC._

DCF is vicariously liable lor its ernployees or contractors wrongful, reckless

and/or negligent actions_

DCF-`s employees andfor contractors CHlLDNEi`, lNC¢, OUR KIDS OF MlANl|-

oaoefnionnol; inc author 1115 HousE lNC- negligentiy caused M.c 10 .

suffer death by suffocation

DCF’ S employees and/or contractors CH!LDNET lNC. OU_R KlDS OF MlANll~

`DADE/MDNROE lNC and/or i-llS HO_USE, lNC wrongful reckless and/or

neghgent actions were the legal cause of M. C' s fatal' injuries pain and suffering

and death.

The negligence of DCF’ s employees and/or contractors CHlLDNEF lNC., OUR '

KiD`S OF i\lllAMl-DADE!MONROE lNC and/or HlS HOUSE lNC. was the direct

Pa_ge 37 of 42

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188. That as a direct foreseeable and proximate result of DCF’ s negligence the

Estate of M. C., has suifered a loss of eamings. a loss of prospective net
accumulations and incurred medical~and!or funeral expenses _

189. . That as a direct, foreseeable and proximate result of DCF's negligence surviving
siblings, Bobby Crawford, Bdoe Brown and Michael Co|eyl Jr._have experienced

v severe mental pain and suffering from the date of decedent’s deaih; loss of

capacity for enjoyment of life; loss offdecedenl’s companionship, protection ' ' _'

support and services;_ loss'of net ammulations.' `lhese damages 'are permanent

and continuing in nature. , ‘ ' ` ' _ 7

» _ WHEREFORE the Plaintifl"s demand judgment against Defendant DCF for
compensatory damages in excess of this _Court’s jurisdictional limits exclusive of costs
and interests, and for any further relief which this Court may lind just and proper and l

further demand a trial by' jury of all issues triable as a matter of right by jury.

COUNT Xl-VICARlGUS LIY|UTY: STATE OF I-'I...C)RIDAa

DEPARTMENT OF CHlL_DREN AND FAM|LIES

 

190 Plaintile re~allege and '_re~aver paragraphs 1-39 as though they were fully set

forth rn its entirety below. _
191. At all times material hereto. DCF exercised dominion over the infant assuming
d custody, control and supervision of the minor decedent, M_C,.
192..‘_4\£31\ times material herein DCF owed`a duty of care to protect thehealth,

safety, welfare and supervision of the minor decedent,_M.C.

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and proximate cause of the serious:persona| injuries sustained by the decedent

and directly and proximately,resulted in M.C.'s dealh_

That as a direct, foreseeable and proximate result of DCF’s employees and/or
contractors cHlLoNEr, lNc,`, oun Kle 0F MiAMl-oADErMoNRoE, lnc.
and/or HlS HOUSE, ll\lC,'sl negligence Jossalyn Crawford and Michael uole`y,
as individuals and for and behalf of the ESTATE OF M.C. have experienced

severe mental pain and suffering from the date cit-decedent’s death: lossof

capacity for enjoyment of life; loss of decedent’s companionship, protection,'

support and services: funeral expenses; loss of net accumulations These'

damages,are permanent and continuing ln` nature.'

_ Thal as a direct, foreseeable and proximate result of DCF' s employees and/or

contractors CHILDNET, lNC. OUR KIDS OF MlAMl~DADEJMONROE lNC_

» andfor HlS HOUSE lNC.' s negligence the Estate of M-_ C_ has suffered a loss of

_ eamings, a loss of pmspeetwe net accumulations and incurred medical and/or

funeral expensesh

Tnat as a direct foreseeable and proximate result of DC_F’s employees and/or _ 4
Conlractors CH|LDNET` lNC_, OUR KlDS OF MlAMl- DADEIMONRO§ _:_'lNC
_and!o_r HlS HOUSE, lNC' s negligence surviving siblings Bobby Crawford Brice

.Brown and Miehael Coley, Jr- have experienced severe mental pain and suffering

from the date of decedent’s `death; loss of capacity for enjoyment or |ife; loss o_f

decedent’s companionship, protection, support band services; loss of net

. accumulations These damages are permanent and continuing in nature

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WHEREFORE the plaintiffs demand judgment against Defendant DCF for

n compensatory damages rn excess of this Court‘s jurisdictional limits exclusive of costs

and interests and for any further relief which this Court may ind just and proper and
further demand a trial by' jury of ail issues triable as a matter of right by jury

COUNT XH-FA|LURE TO SUPERVISE: STATE OF FLOR!DA
m
DEPARTMENT OF CH|LDREN AND FAM|LIES

204 Plaintifis re-allege and re-aver paragraphs t -39 as though they were fully set
f' .

_ forth in its entirety below-

205. 'DCF exercised dominion mar the infant assuming the recponsioTrty of custody
\
_ end care of Nl C.

206- DCF had the responsibility and duty to insure that all contractors andlor
. employees were property trained and supervised for the delivery of care to Nl. C.

and all infants placed‘ m its charge

207_ DCF had the responsibility and duty to protect the safely. health and welfare of

M-C. and all infants rn its care_ _
208. DCF had the responsrbirlty and duty tp insure that irs contractors had appropriate d
l facilities for Nl C_ and that the facilities had safe and age appropriate clothing l
__ supplies and other materials for each child \lvhile' ln the custody and control of
` DcF. ' _
2091 >DCF had the responsibility and duty to' insure that it had sufficient staff to _ _ _
c properly supervise and monitor the care of the infants rn its custody and contro|;

; properly supervise and monitor the delivery of care by its contractors and/or

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employees; and insure the proper training of rls contractors and/or employees m
the delivery of care to infants acoepted' m the custody and care of DCF.

DCF knew or should have known that it its contractors and/or employees d cl not

` have The appropriate and/or suflicienl clothing, supplies and other materials for
_ the care of M. C_

DCF knew or should have known that its contractors_andlor employees were nor ’
safely preparing M.C- for bed.»

DCF knew or should have known that its contractore and!or employees were
loosely wrapping infants m a blanket covering the mouth and/or nose of the infant
and that same could result in death by suffocalxon

DCF knew or should have known that_the practice of its contractors and/or
employees of looser lmrap_p_ing an 'iniant, in a blanlcet vvas widespread and posed

unreasonable risk or narrn c-r death in infaan placed in the custody and care nr

'ocF_.'

» DCF knew or should have known that irs failure'to traini supervise, and/or

monitor its contractors andlor employees could have reeulted in the harm

suffered by M-C-

DCF's indifference to the substantial risk_ posed by its failure to train, supervise

andlor monitor its agents and/or employees resulted in the auffocation death of

‘M.C._ that as a direct1 Afr:'»resee:arble and proximate result of DCF’s failure'i_o_

supervise train andlor monitor its contractors a‘ndlor employees in this matter,

Jnssaryn'crawrnrd and Mzdnael_cnley; as individuals and for and behalf dr the

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learned ring nn 21.`2009 5:51PMNQ.1348

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ESTATE OF M.C.' have e)perienr;ed severe mental'pain and suffering from the
date of decedent’s death; loss of capacity for enjoyment 'of life; loss of decedent’s
companionship, protection, support and services; funeral ercpenses; loss of net
accumulations T_hes`e. damages are permanent and continuing in nature 1

That as a direr:t, foreseeable and proximate result of DCF's. failure to supervise

train andlor~ monitor its contractors and/or employees in this matter_ the Estate_of

M-C., has suffered a_los.s of`eamings, a loss of prospective net acoumulations

7 and incurred medical andfor funeral expenses_

That as a direcL foreseeable and proximate result of `DCF`s,`failure to supervise 7
train and/or monitor its comraotols-a nd/or employees in this matter, surviving

siblings, Bobby Cravrrford, Brice Brown and Michael Coley, Jr. haye experienced

- severe mental pain and suffering from the date of decedent’s death: loss of

capacity for enjoyment of lH; loss of decedents companionship, protection,

support and'services; loss of net accumulations. Th_ese_damages_ are permanent

7 and-continuing in nemre. -

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WHEREFORE. the PlainliFls dernandjudgment against Defendant, DCF for
compensatory damages in excess of this Courl*s jurisdictionallimits. exeiusive of costs
and interests, and_for any furiher relief which this Court may' find just and proper and

further demand a trial by jury of all issues triable as a matter of right>byjury_

. Fenne a GRA_MLrNe
'Attomeys for Plaintiffs

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IN RE: ESTATE OF '
MADISFONAM:BLCOLEY 1=11¢1~@,9_' 0 0 0 2 5

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n Deceased,

PETITION FOR AJ_DL*DNIS'I'.RA'I'ION

 

 

(`mms!aie Florida ramdént- multiple patitioners and PR.s)

Pe.ti!ic)ners alleg_e:` ' ‘
1. Pctitione_rs have an interest in the abhve estate as natural mother and natural fath¢:r,
respectively Fetitioncm' namcsandaddmsses are: ‘
Jossa!yn Crawford _
1041 S.W. 'Tth Avem\e _
medium 135311, Florida 33441 ~
MamelA. coley

4844N.W.24th Court, AprL 137 w
`l,audbl“da]e Lakc_s Florida 33313 ‘ '

and the name and office address of petitiom_:m’ momey are set forth at t_he end of this petition.
;. ' ' Decedent, Mad1son ._Arisl Coiey, whose last known address wz_ls 1041 S. W. 7th Avmue,
Deerf?c}d Beach, Florida 334_41, and whose agewas 1 mohfh, died on February 15, 2001 ar Miami~Dade

Couni)'> and on 515 date of death décedeni was domiciled in Broward Coimt'y, Florida`_
b 3__ So far as is known, 151311ames of the béneficiaries_of this' estate a'ud of the.decedont‘s

surviving spouse, ifz_my, their addresses ind relafionsh§ps to decedent, and the dates of Hi'?th "ofany who are'

minors,_."m'.. n _
'NAMB .- A_J)r)n£ss. RBLAHONSHIP lamm mm
' , ._ ~. ` , ' [1fM1nor'| .
Jossalyn Qrawford 1043 S.W. 27th Avcnue ' natural mother

` DBP-.rflclgi,Bea¢;h, Florida 334-41

 

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Mioha¢lA Colcy 11344th 24111 comm 137 ‘ ' naml'fnh=r
- lauderdale Lakes, Florida 33313 '

4.. l Venue ofthis proceeding is in this county because dccodent lived in Broward County.

5. n 4 Josamyn€ra\nford, whose addressis 1041 S.W. 7tl1Avenu3 Dcsrileldl?»ouch Florida 33441
and Michael A~Coley, whose address 13 4844 N. W. 211-th Court, Apt. 137, Lauderdalcl,aku, Florida 3331‘3
_ancl who arc qualified under fha laws of 151<: Stzie offlon'da to serve as personal representatives of the

` de<>¢d¢fit' S CSH¥¢. are entitled to preference m appointment as personal rcprcsenmtivcs because they are_ the
natural parents oftho mh:or child 1

6_ The nature and approximm:e value of the assets' m this estate are \mlmom
7. ' Thisestabcwill notbczequh~edtoiileafbdcral estatotaxremrn.
2_ ,

Aherthc exerciaoofrwsmablc diligch pctitionm ana unaware nfzmy cr_nrevoked wills or -
n codicils ofdeccdent. v '
Pctitx'oners request that Josmzlyn Ckawford and Micha¢l A. Coley be appoihted pc:rsdnal
. representatives ofthc estate ofdle decedent v z _
Undcr pnalties nfperjmy, we declare that we have read d1e for_cgoing, a_nd 613 facts éllegcd
1 are true, to the hat wmowledgef_nd belief
Sig;ned on \__J C_ l.f §

 

 

 

M'inhael A. Colcy / d
Pcfitionc:r '

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F'U lauderdale Florida,ss._,. 16 . ' mwn‘wzs_s my 313 d ana o:rml s=%é F Lande:dars
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0 Florida lawyers Suppcirt Scrv:`ces, I:nc.
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IN THE C|RCU|T COURT OF THE
17TH JUD|CIAL C|RCUIT |N AND
BROWARD COUNTY, FLOR|DA
CASE NO.: 09-02544 CA 25

JOSSAL¥N D. cRAWFORD, and

MICHAEL A. COLEY, Du|y Appoint_ed

Persona| Representatives of the Estate

of M.C., Minor Decedent,

Plaintiffs,

vs.

CH|LDNET, ¥NC., HlS HOUSE, |NC.,

OUR KIDS OF M}AM|-DADE/MONROE.

lNC., and STATE OF FLOR|DA,
DEPARTMENT OF CH|LDREN AND FAM|L[ES

D@felnd'arns..l . .- v ' O/\P-»|'1 \8\}9”|

/
PLA|NT|FFS’ FlRST AMENDED COMPLAINT FOR WRONGFUL DEATH

COME NOW, t_he Plaintiffs, JOSSALYN D. CRAWFORD (natura| mother),and
MICHAEL A. COLEY (natura\ father), as duly appointed Persona| Rep’resentatives for
The Est_ate of M.C. , Minor Decedent, and JOSSALYN D. CRAWFORD and MICHAEL
A. COLEY as individua|s, and sue the Defendants, .C'H|'LDNET,- lNC., HlS HOUSE,
iNC., OUR K|DS OF M|AM!»DADE/MONROE, lNC., and the STATE OF FL¢R|DA,
DEPARTMENT OF CH|LDREN AND FAMIL|ES, pursuant _to F.S. § 46.021 ‘F.-S. § 768

et seq.. by and through the undersigned counsel and allege:

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JURISD|CTION AND VENUE
1. That this is an action for damages in excess of the jurisdictional limits of this
Court. exciusive of costs.-
2. _ Plaintiffs have satisfied all conditions precedent, including statutory notice
` requirements, prior to bringing this action_, and/or same have otherwise been
discharged
3. The decedent, Madison ,Ariel Coiey was born on or about January` 10, 2007. See
Exhibit`1.
4. Her natural mother was and is Jossalyn Demtrail Crawford. See Exhibit 1.
' 5. Her natural father was and is Michael Antwan Co|ey. See Exhibit 1.
6. M.C. died on or about February 15, 2007. See Exhibit 2_
7. Plaintiffs, JOSSALVN D. CRAWFORD (natural mother), and MlCHAEL A.
' COLEY, are the duly appointed Personal Representatives of the Estate of
MADIS(_JN COLEY, minor _decedent. A copy of the Order Appointing Personal
Representatives and Letters of Administration are attached hereto and
incorporated herein by reference Composite Exhibit 3.~ t
8. Decedent is survived `by. her naturai mother, Jossalyn D, Crai)vford; natural father,
Michael A` Coley; brother, Bobby Crawford; brother, Bn'ce Brown; and brother,
Michael Coiey, Jr.
9. The beneficiaries of the recovery in this action are JOSSALYN D. CRAWFORD

and MlCHAEL A. COLEY the natural parents of the decedent M.C.

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10. -JOSSALYN D. CRAWFORD and MlCHAEL A. COLEY the natural parents of the
decedent, are sui juris,

'11. At all times material to this' action the Plaintiffs', JOSSALYN D. CRAWFORD,
lVllCHAEL A. COLEY, all siblings of the decedent, and M.C., the minor d'ecedent,
were and are residents of Broward County, Floridav

`12. CHll_DN ET, lNC. is a Florida non¢profit corporation, formed under the laws of the
State ot Florida, with its principal place otj business ll:»eing,Broward County',-
Florida, and authorized to do business in Broward County and is otherwise.sui

’ juris.
13. HlS HOUSE, lNC. is a Florida non-profit corporation, formed under the laws of
` the State ot Flon`da, with its principal place of business being Miami-Dade
County, Florida, and authorized to do business in Miami-Dade County and is
otherwise sui juris.

14. OUR KlDS OF MlAMl-DADE MONROE, iNC. is a_F|orida non-profit corporation,
formed under the laws of the Sta`te of Florida, with its principal place of business
being Miami-Dade, Florida, and authorized to do-business in Miami-Dade and
Monroe counties and is otherwise sui juris.

15. The State of l:lorida, Florida Departrnent of Children‘and Families (hereinafter

y referred to as DCF, DCF Miami and/or DCF Broward) is an agency or subdivision
of the State of Florida operating in Broward County, Florida by and through

District- 10 and in Miami~Dade, Florida by and through District 11.

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GENERAL ALLEGATIONS

16. Defendant, The State of Florida, failed to comply with the requirements of F.S.
§39.'521 etseq_ -

17. M.C. was removed from JbSSALYN CRAWFORD-’S home and placed in the
protective-custody and control of DCF Broward on or about February 6, 2007.

18. DCF owed a duty of care to M.C. acting in its capacity as in loco parentis.

19. M.C. was placed in the custody and control of CHlLDNET, lNC. by DCF Broward
on or about February 6, 2007. v

20. citii_DNET, iNc. owed a duty ct care tc M.c. acting in its capacity ac iri-chc
parentis

21. DCF Broward tiled a "Dependency Shelter Petition” on February 7, 2007
supporting the removal ot M.C. from the home of JOSSALYN CRAWFORD.

2_2. M.C, was placed in the custody and control ot OUR 'KlDS OF MtAMl~
DADEIMONROE, lNC. by CHlLDNET, lNC. on or about February 6, 2007.

23. OUR KlDS OF MlAMl-DADE/MONROE, lNC. owed a duty of care to M.C. acting
in its capacity as in loco parentisl.

24. iii.c, was piacad in tha custody and ccntmi of His HousE, iNc. by DCF Miami
andi'or OUR KlDS OF M|AMljDADE/MONROE, lNC. on or about February 6,
2007.

25. HlS HOUSE, lNC. owed a duty ot care toM.C. acting in its capacity as in loco

parentis

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26. Kristen Glaspy was the foster care mother caring`for the decedent, M.C., at all
times materiai to the‘death of M.C.
27. Kristen Glaspy, at all times material heretol was an employee and/or agent of
HlS HOUSE, lNC.
28. Kristen Glaspy knew or should have known that M.C. had been congested forthe~
24 hours preceding her death n -
29.~ Kristen Glaspy negligently cared for and/or supervised the infant, including
negligently wrapping M.C. in a blanket
30. Upon information and belief, Kristen Glaspy last fed M.C. at 12:00am on
February 15, 2007 and last saw her alive at 12:30am on February 15, 2007.
31. Upon information and betief,- Kristen Glaspy found M.C. deceased at 5:17am on
February 15, 2007. _
32. M-C was found dead, leaning forward on her side, with the blanket completely y
` covering her nose'and mouth.
33, The cause of death of M.C. was suffocation by blanket.
34. A|l defendants and HlS HOUSE, lNC. in particular knew or should have known of -
a risk of serious harm or death to an infant in loosely wrapping an infant in a
.' btanket andlor covering the infant’s nose and mouth and defendants recklessly
v disregarded that risk.
35. ' M.C. experienced great physical and mental pain and suffering for a period of

time prior to her death by suffocation.

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Upon information and belief M.C- died at Landmark Shelters, Building 6A, 20000
N.w. 47"‘ Avanua, opa i.oci<a, Ficriaa 33055.

Upon information and belief Landmark Shelters is owned and/or operated by HlS
HOUSE, lNC.

F|aintitfs reserve and preserve their right to amend this Complaint to include a
claim for punitive damages pursuant to Florida Statutes 768.72; Porter v. Ogden,
241 F.3d 1334, C.A. 11(Fla.), 2001 and all applicable Florida Rules of Civi|

Procedure.

COUNT l-WRONGFUL DEATH: CH|LDNETz lNC.

Plaintiffs re-allege and re-aver paragraphs 1-38 as though they were fully set t

forth in its entirety below.

At all times material hereto, CH|LDNET, lNC. exercised dominion over the infant,

assuming custody and control of the minor decedent, M.C.

At all times material hereto. CHlLDNET, lNC. upon exercising dominion over the

child owed a duty of care to protect the health, safety, and welfare of the minor

decedent, M.C. l

At all times material hereto, CH|LDNET, lNC. breached its duty of care by:

a. Negligently placing M.C. outside of its jurisdiction in to the care and
custody ot OUR KlDS OF MlANll~DADE IMONROE, lNC. and/or HlS
HousE iNc; 4

b. Failing to properly supervise the care of the decedent;

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c. Failing to properly train individuals to care for the decedent
d. l Failing to property diagnose the decedent’s medical condition;
e- Failing to properly treat the decedent

f. Failing to discharge its statutory and common law duty to protect the
decedent; and n h
' g. Failing to establish sufficient protocois for the care and supervision of the
decedent. f
' ' 43. CH|LDNET, lNC'. had the responsibility and duty to insure that all contractors
and/or employees with whom they placed the infant were properly trained and
supervised for the delivery of care to M.C. and all infants placed in its charge,

44. CH|LDNET. lNC. had the responsibility and duty to insure that its contractors had
appropriate facilities for M.C. and that the facilities had safe and age appropriate

d ctothing, supplies, and other materials for each child while in the custody and l
control of CH|LDNET, lNC.

45. cHiLoNET, iNc. had the responsibiiity and duty to insure that ii had curricrcnt
staff to property supervise and monitor the care of the infants in its custody and
control; property supervise and monitor the delivery of care by its contractors
and/or employees; and insure the proper training of its contractors and/or
employees in the delivery of care to infants accepted in the custody and care of
CHILDNET, lNC.

, 46.l CH|LDNET, lNC. knew or should have known that its contractors andior

employees were negligently caring for and supervising the children placed in

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47.

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their custody and specifically were negligent in their supervision and care of the

minor infant.7

CHlLDNET, lNC. knew or should have known that it its contractors and/or
employees did not have the appropriate and/or sufficient ctothing, supplies and
other materials for the care of M.C. b

CH|LDNET, lNC. knew or shou|d.have known that its contractors and/or
employees were not safely preparing M.C. for bed.

CH|LDNET, lNC. knew or should have known that its contractors and/or
employees were loosely wrapping infants in a blanket covering the mouth and/or
nose of the infant and that same could result in death by suffocation.
CHlLDNET, lNC. knew or should have known that the practice of its contractors
and/or employees of loosely wrapping an infant in a blanket posed unreasonable
risk _of harm or death to infants placed in the custody and care of CHlLDNET,

lNC.

CH|LDNET, lNC. knew or should have known that its failure to train, supervise,

and/or monitor its contractors and/or employees could have resulted in the harm
suffered by M.C.

Thal as a result of Defendant’s negligence Plaintiffs Jossalyn Crawford and
Michae| Coley, as individuals and for and behalf of the ESTATE OF M.C. have
experienced severe mental pain and suffering from the date of decedent’s death;

loss of capacity for enjoyment of life; loss of decedent’s companionship,

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protection, support and service's; funeral expenses; loss of net accumulations
These damages are permanent and continuing iri nature.

. 53.: That as a direct, foreseeable and proximate result of CHlLDNET, lNC.’s,
employees and/or contractors, OUR -KIDS OF MlAMl-DADE/MONROE, lNG.'s
and/or HlS HOUSE'. lNC..’sl negligence the Estate of M.C., has suffered a,loss of
eamings, a loss of prospective net accumulations and incurred medical and/or

f funeral expenses
WHEREFORE, the Plaintiffs demand judgment against the Defendant,
CHll_DNET, lNC- for compensatory damages in excess of this Court’s jurisdictional
limits, exclusive of costs and interests, and for any further relief which this Court may
find just and proper and further demand a trial by jury of all issues triable as a matter of

right by jury.

COUNT ll-VlCARlOUS LlABlLlT‘i': CHlLDNl?.Tl lNC.

54. Plaintiffs re-allege and rey-aver paragraphs 1-38 as though they were fully set
forth in its entirety below.

55. At all times material hereto, CHlLDNET, lN_C. exercised dominion over the infant
assuming custody, control and supervision of the minor decedent, M.C.

56. ` At all times material hereto, Cl-llLDNET, lNC. accepted responsibility for the
health, safety, welfare and supervision_of decedent M-C.

57. At all times material hereto, CHlLDNET, lNC- owed a duty of care to protect the

health, safety, and welfare of the minor decedent, M.C.

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58. At all times material hereto, HlS HOUSE, lNC., and/or its agents and employees, l
were acting for, upon, and in furtherance of the business of its employer and/or .
contracting agent and within the scope of its employment and/or contract n -

59. HlS HOUSE, lNC. provides residential services for the placement of
infants!children within Miami by and through its contract with CHlLDNET, lNC_.,
DCF and/or OUR KlDS OF NllAl\/ll~DADE/MONROE, lNC.

60. CH|LDNET, lNC. placed M.C. with HlS HOUSE, lNC. by and through DCF and/or
OUR KlDS.l OF MlAl'vll¢DAD_E!MONROE, lNC.

61- CH|LDNET, lNC. is vicariously liable under the doctrine of Respondeat Superior _
for wrongful, reckless and/or negligent actions of OUR KlD.S OF MlAMl-
DADE}MONROE, lNC. and/or HlS HOUSE, lNC.

'6_2. CHILDNET, lNC.'s employees and/or contractors OUR KlDS OF MlAMl-
DADEIMONROE, lNC. andlor HlS HOUSE, lNC. wrongful, reckless and/or
negligent actions were the legal cause of M.C.'s fatal injuries, pain and suffering
and death_.

63. The negligence of CH|LDNET, lNC.'s emptoyees and/or contractors, OUR KlDS
OF MlAMl-DADE/MONROE; lNC. and/or HlS HOUSE lNC. were the direct and
proximate cause of the serious personal injuries sustained by the decedent and
directly and proximately resulted in M.C.'s death.

64. That as a direct, foreseeable and proximate result of Cl-llLDNt':’Tl |NC.'s
employees end/er contractors ouR Kips or MlAMiavoE/MONROE, iNc.'s

and/or HlS HOUSE, lNC.'s,_neg|igence, Jossalyn Crawford and Michael Coley,

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as individuats and for and behalf of the ESTATE OF M.'C. have experienced
severe mental pain and suffean from the date of decedent’s death', loss of
capacity for enjoyment of life; loss of decedent’s companionship, protection,
support and services;' funeral expenses; loss of net accumulations These
_ damages are permanent and continuing in nature. _
65. y That as a direct, foreseeable and proximate result of CHiLDNET, lNC.'s,
employees and/or contractors, OUR KlDS OF MlAMl-DADEIMONROE, lNC,’s
andfor HlS HOUSE, lNC.'s, negligence, the Estate of M.C., has suffered a loss of
eamings, a loss of prospective'net accumulations and incurred medical and/or

d funeral expenses
WHEREFORE, the Plaintiffs demand judgment against -Defendant, CHlLDNET,
lNC. for compensatory damages in excess of this Court’s jurisdictional limits, exclusive
of costs and interests, and for any further relief which this Court may find just and

proper and further demand a trial by jury of all issues triable as a matter of right by jury,

§OUNT lll-FAlLURE TO SUPERV!SE: CHlLDNET, lNC.
66. Plaintiffs re~allege and re~aver paragraphs 1-38 as though they were fully set
forth in its entirety below. '
67. CHlLDNET, lNC. exercised dominion over the infant assuming the responsibility

' of custody, care and supervision of M.C.

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68. CHtLDNET, lNC. had the responsibility and duty to insure that all contractors
andlor employees with whom they placed the infant were property trained and
supervised-for the delivery of care to M.C. and all infants placed in its charge

69. CH|LDNET, lNC. had the responsibility and duty to protect the safety, health, and
welfare of M.C. and all infants in its care.

70. CHiLDNET, lNC. had the responsibility and duty to insure that its contractors
had appropriate facilities for M.C. and that the facilities had safe and age
appropriate clothing, supplies, and other materials for each child while in the
custody and control of CHlLDNET, lNC.

71. _CHtLDNET, lNC. had the responsibility and duty to insure that it had sufficient
staff to properly supervise and monitor the care of the infants in its custody and
control;.properly supenrise and monitor the delivery of care by its contractors
and/or employees; and insure the proper training of its contractors and/or
employees in the delivery of care to infants accepted in the custody and care of
cHrLDNET, iNc. `

72. CHILDNET, lNC- knew or should have known that its contractors and/or _
employees were negligentty caring for and supervising the children placed in
their custody and specifically were negligent in their supervision and care of the
minor infant.

73. CH|LDNET, lNC. knew or should have knov\m that it its contractors and/or .
employees did not have the appropriate and/or sufficient ctothing, supplies and

other materials for the care of M.C.

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CHILDNET, lNC. knew or should have known that its contractors and/or
employees were not safely preparing M.C. for bed. v

CHlLDNET, lNC. knew or should have known that its contractors and/or
employees were loosely wrapping infants in a blanket covering the mouth and/or
nose of the infant and that same could result-in death by suffocation.
CHlLDl\_lE.T, lNC. knew or should have known that the practice of its contractors
and/or employees of looser wrapping an infant in a blanket posed unreasonable
risk of harm or death to infants placed in the custody and care of CHlLDNET,
lNC.

CHlLDNET, lNC. knew or should have known that its failure to train, supervise,

and/or monitor its contractors and/or employees could have resulted in the harm

suffered by M.C. _

vCHlLDl\lET, lNC.'s indifference to the substantial risk posed by its failure to train,
supervise and/or monitor its agents and/or employees resulted in the suffocation
death of M.C. .

That as a direct, foreseeable and proximate result of CHlLDNET, lNC.'s failure to
supervise train and/or monitor its agents and/or employees in this matter,
Jossalyn C_rawford and Michael Coiey, as individuals and for and behalf of the
ESTATE OF M.C. have experienced severe mental pain and suffering from the
date of decedent’s death; loss of capacity for enjoyment of life; loss of decedent’s
companionship,. protection, support and services; funeral expenses; loss of net

accumulations These damages are permanent and continuing in nature.

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BO.

That as a direct, foreseeable and proximate result of CH|LDNET, tNC-'s. failure

to supervise, train and/or monitor its agents and/or employees in this matter, the ~

Estate of M.C., has suffered a loss of earnings, a loss of prospective net

accumulations and incurred medical and/or funeral expenses

WHEREFORE, the Plaintiffs demand judgment against Defendant, CH|LDNET, `

lNC. for compensatory damages in excess of this Court’s jurisdictional limits, exclusive

of costs and interests, and for any further relief which this Court may find just and

proper and further demand a trial by jury of all issues triable as a matter of right by jury.

81,

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83.

84.

COUNT lV-WRONGFUL_Q§ATH: HlS HOUSEl lNC.

. Plaintiffs re~a|lege and re-aver paragraphs 1-38 as though they were fully set

forth in its entirety below.

At ali times material hereto, HlS HOUSE, lNC. exercised dominion over the infant

assuming custody and control of the minor decedent, M.C.

At all times material hereto, HlS HOUSE, lNC. owed a duty of care to protect the

health, safety, and welfare of the minor decedent, M.C.

At all times material hereto, HlS HOUSE, lNC. breached its duty of care by:

a. Negiigent|y accepting placement of M.C., from outside of its jurisdiction,
into its care and custody from OUR KIDS OF MlAMl-DADE /MONROE,
lNC,, DCF, and/or CH|LDNET, lNC;

b. . Failing to properly supervise the care of the decedent

c. Failing to properly train individuals to care for the decedent

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d. Failing to properly diagnose the decedent’s medical condition;
e. ` Failing to properly treat the decedent
f. Failing to discharge its statutory and common law duty to protect the

decedent and
g. Failing to establish sumcient protocois for the care and supervision of the
decedent v
85, HlS HOUSE, lNC. had the responsibility and duty to insure that all contractors .
andl'or employees with whom they placed the infant were properly trained and
supervised for the delivery of care to M.C. and all infants placed in its charge.
86. i-liS HOUSE, lNC. had the responsibility and duty to insure that its contractors
and!or employees had appropriate facilities for M.C. and that the facilities had
safe and age appropriate clothing, supplies, and other materials for each child
while in the custody and control of HlS HOUSE, lNC. l
87. v HlS HOUSE, lNC. had the responsibility and duty to insure that it had sufficient
staff to properly supervise and monitor the care of the infants in its custody and
control; properly supervise and monitor the delivery of care by its contractors-
andfor employees; and insure the proper training of its contractors andlor
employees in the delivery of care'to infants accepted in the custody and care of
HlS HOUSE, lNC-
88. HlS HOUSE, lNC. knew or should have known that its contractors and/or

employees were negligently caring for and supervising the children placed in

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their custody and specifically were negligent in their supervision and care of the

. minor infant

HlS HOUSE, lNC- knew or should have known that it'its contractors and/or '
emptoyees did not have the appropriate and/or sufficient clothing, supplies and
other materials for the care of M.C.

HlS HOUSE, lNC. knew or should haven known that its contractors and/or
employees were not safely preparing M.C. for bed.

l-|tS HOUSE, lNC. knew or should have known that its contractors and/or
employees were loosely wrapping infants in a blanket covering the mouth and/or
nose of- the infant and that same could result in death by suffocation.

HlS HOUSE, lNC. knew or should have known that the practice of its contractors

and/or employees of loosely wrapping an infant in a blanket posed unreasonable

risk of harm or death to infants piaced in the custody and care of HlS HOUSE,
rNc. 4 l

HlS HOUSE, lNC. knew or shoutd have known that its failure to train, supervise,
and/or monitor its contractors and/or employees could have resulted in the harm
suffered by M..C

As a result of HlS HOUSE, lNC.'s breach of its duty of care, an employee and/or
agent of HlS HOUSE lNC. caused the death of M.C.

The negligence of HlS HOUSE, |NC., as set forth above, was the direct and
proximate cause of the serious personal injuries sustained by the decedent and f

directly and proximately resulted in M.C.'s death

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k ss.

97.

That as a direct, foreseeable and proximate result of HlS HOUSE, lNC.’s
negligence1 Jossalyn Crawford and Michael Coley, as individuals and for and
behalf of the ESTATE OF M.C. have experienced severe mental pain and

suffering from the date of decedent’s death; loss of capacity for enjoyment of life;

loss of decedent’s companionship, protection, support and services§ funeral

expenses;l loss of net accumulations These damages are permanent and
continuing in nature.
That as a direct. foreseeable and proximate result of HlS HOUSE, lNC.’s

negligence, the Estate of M.C., has suffered a loss of earnings, a loss of

. prospective net accumulations and incurred medical and/or funeral expenses

WHE.REFORE-, the Plaintiffs demand judgment against Defendant, HlS HOUSE, '

lNC..for compensatory damages in excess of this Court’s jurisdictional limits, exclusive

of costs and interests, and for any further relief which this Court may find just and

proper and further demand a trial by jury of all issues triable as a matter of right by jury.

98_

99;

_100.

COUNT V»VlCARlOUS LiABlLlTY: HlS HOUSE, lNC.
Plaintiffs re-allege and re-aver paragraphs t-_'38 as though they were fully set
forth in its entirety below. _
At all times material hereto, HlS HOUSE, lNC. had custody and control of th`e

minor decedent, M.C.

,At all times material hereto, HlS HOUSE, lNC. exercised dominion'over the

infant

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101. At all'times material hereto, HlS HOUSE, lNC. accepted responsibility for the
health, safety, welfare and supervision of decent, M.C.

102. At all times material hereto, HlS HOUSE, lNC. owed a duty of care to protect the
health, safety, and welfare of the minor decedent M.C,

103. At all times material hereto, Kristen Glaspy, was acting for, upon, and in
furtherance of the business of her employer,'HlS HOUSE, lNC., and within the
scope of her employment.

104. -HlS HOUSE. lNC. is_ vicariously liable for its employees’ wrongfu|, reckless
and/or negligent actions n

105. HlS HOUSE, lNC.’s employee. Kristen Glaspy, was improperly trained; and she
negligently cared for, treated and supervised the decedent, causing M.C. to
suffer death by suffocation.

106. HlS HOUSE, lNC-'s employee, Kristen Glaspy's action(s) at all times material
hereto was wrongful, reckless and/or negligent; serving as the legal cause of
M.C.'s fatal injuries, pain and suffering and death. '

107. The negligence of HlS HOUSE, lNC.’s employee, Kristen Glaspy, as set forth

n above, was the direct and proximate cause of the serious personal injuries
sustained by the decedent and directly and proximately resulted in M.C.’s death.

108. l`l`hat as a direct, foreseeable and proximate result of HlS HOUSE, lNC.’s
employee, Kristen Glaspy's, negligence, Jossalyn Crawford and Michae| Coley,
as individuals and for and behalf of the ESTATE Ol-_' M.C. have experienced

severe mental pain and suffering from the date of decedent’s death; loss of

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capacity for enjoyment of life; loss of decedent’s companionship, protection,
support and services; funeral expenses; loss of net accumulations These
damages are permanent and continuing in nature. n

109 That as a direct, foreseeable and proximate result of HlS HOUSE, lNC.’s,
employee,' Kristen Glaspy's, negligence, the Estate of M.C., has suffered a loss

of eamings, a loss of prospective net accumulations and incurred medical and/or

 

funeral expenses v v
WHEREFORE, the Plaintiffs demand judgment against ljefendant. HlS HOUSE,
lNC. forl compensatory damages in excess of this Court’s jurisdictional llmits, exclusive
of costs and interests, and for any further relief _w_hich this Court may find just and n
proper and further demand a trial by jury of all issues triable as a matter of right by jury.
COUNT Vl-FAlLtJRE TO SUPERV|SE: HlS HOUSE, lNC.
110. , Plaintiffs re~allege and reeaver paragraphs 1-38 as though they were fully set
forth in its entirety _below.
111. HlS HOUSE lNC.`accepted the responsibility of custody and care of M.C. and
v other infants pursuant to a contract with DCF, CHlLDNET, lNC., and/or OUR
KIDS OF MlAMl-DADEIMONROE, lNC.
112. HlS HOUSE, 'lNC; had the responsibility and duty to insure that all agents and/or
employees were properly trained and supervised for the delivery of care to M.C.

and all infants-placed in its charge.

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`113. HlS HOUSE, lNC. had the responsibility and duty to protect the safety, health,
and welfare of M.C. and all infants in its care while preparing M.C. and all other
infants for bed.

114. HlS HOUSE, lNC. had the responsibility and duty to insure that its facilities had

safe and age appropriate clothing, supplies, and other materials for each child

 

during their stay with HlS HOUSE, lNC. l t

115. HlS HOUSE, lNC. had the responsibility and duty to insure that it had sufficient ll
staff to properly supervise the care of the infants in its custody and control; il
properly supervise and monitor the delivery of care by its agents and!or . 1
employees; and properly train its agents and!or employees in the delivery of care 1
to infants accepted in the custody and care of HlS HOUSE, lNC. _ 1

11a `Hrs Houss, rNc. knew or should have known that rt did nor have the
appropriate andlor sufficient clothing, supplies and other materials for the care of
M.C.

117. HlS HOUSE, lNC. knew or should have known that its agents andlor employees
were not safely preparing'M.C. for bed. v

_ 118. HlS HOUSE, lNC. Knew or should have known that loosely wrapping an infant in_

a blanket could result in the blanket covering the mouth and/or nose of the infant
resulting in death by suffocation.

119. HlS HOUSE, lNC. knew or should have known that the practice of its agents

andl'or employees of loosely wrapping an-infant in a blanket was widespread and

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posed unreasonable risk of harm or death to infants placed in the custody and
care of HlS HOUSE, lNC.
120. HlS HOUSE, lNC. knew or should have known that failure to train and supervise
`its agents and/or employees could have resulted in the harm suffered by M.C. - ‘
121. HlS HOUSE, lNC.’s indifference to the substantial risk posed by its failure to '
train, supervise and/or monitor its agents and/or employees resulted in the

suffocation death of M.C. - §

 

1é2_ That as a direct, foreseeable and proximate result of HlS HOUSE, lNC.’s failure
to supervise, train~and/or monitor its agents and/or employees in this matter,
Jossalyn Crawford and lV|ichael Coley, as individuals and for and behalf of the
ESTATE OF lVl.C, have experienced severe mental pain and suffering from the
date of decedent`s death; loss of capacity for enjoyment of life; loss of decedent’s
companionship, protection. support land services; funeral expenses; loss of net
accumulations These damages are permanent and continuing in nature.

123. That as a direct, foreseeable aan proximate result of HlS HOUSE, lNC.'s, failure
to supervise, train andfor monitor its agents and/or employees in this matter, the
Estate of M.C.,` has suffered a loss of earnings_, a loss of prospective net
accumulations and incurred medical and/or funeral expenses
WHEREFORE, the Plaintiffs demand judgment against Defendant, HlS HOUSE,

lNC. for compensatory damages in excess of this Court’s jurisdictional limits, exclusive

of costs and interests, and for any further relief which this Court may find just and

proper and further demand a trial by jury of all issues triable as a matter of right by jury.

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COUNT Vll-WRQNGFUL Q§ATH: OUR KIDS OF MlA|llil--D.ADEI|\I|ONROEl lNC, "
. 124. Plaintiffs re-a|lege and re*aver paragraphs 1-38 as though they were fully set
forth in its entirety below. l
l 125. At all times material hereto. OUR KlDS OF M|AM|-DADE/MONROE, lNC.
exercised dominion over the infant assuming custody and control of the minor
decedeni, M.C. § l l
126. At all times material hereto, OUR KlDS OF NllAMl-DADE/MONROE, lNC. owed
a duty of care to protect the health, safety, and welfare of the minor decedent,
'M.c. § `
a, Ai an times material herero,' ours Kros or= MlAMi-voE/Moueoe, iNc.

breached its duty of care by: Negligently accepting custody and control of

 

MiC. from outside of its jurisdiction and negligently placing M.C. outside of l

its jurisdiction into the care and custody of HlS HOUSE, lNC;

b. Failing to properly supervise the care of the decedent
c. Failing to properly train individuals to care fo_r the decedent §
d. Failing to property diagnose the decedent’s medical condition;

e. Failing to property treat the decedent

f. Failing to discharge its statutory and common 'law duty to protect the
decedent and

g. Failing to establish sufficient protocols for the care and supervision of the

decedent

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127. OUR KIDS OF MIAMI¥|§ADE/MONROE, lNC. had the responsibility and duty to
insure that all contractors and/or employees with whom they placed the infant
' were properly trained and supervised for the delivery of care to M.C. and al|`
infants placed in its charge l
128, OUR" KlDS OF lM|AM|-DADE[MONROE, lNC. had the responsibility and duty to
insure that its oontractor’s had appropriate facilities for M.C_ and that the facilities
had safe and age appropriate clothing, supplies, and'other materials for each

child while in the custody and control of OUR KIDS OF MIAMI~DADEIMONROE,

 

lNC.

129. OUR KlDS OF. MlAMl-DADEJMONROE, lNC. had the responsibility and duty to
insure that it had sufficient staft,to properly supervise and monitor the care of the
infants in its custody and control; properly supervise and monitor the delivery of
care by its contractors and/or employees; and insure the proper training of its i
contractors and/or employees in the delivery of care to infants accepted in the
custody and care of OUR Kll_JS OF MlAN|l-DADEIMONROE, lNC.

130. OUR KlDS OF MlAil/ll-DADE/NIONROE, lNC. knew or should have known that its'

§ contractors and/or employees were negligently caring for and supervising the

children placed in their custody and specifically were negligent in their
supervision and care of the minor infant, § l §

131. OUR KlDS OF N|lAlvil-DADEIMONROE, lNC. knew or should have known that it v
its contractors and/or employees did not have the appropriate and/or sufficient

clothing, supplies and other materials for the care of M.C.

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